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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION


 PLYMOUTH COUNTY RETIREMENT SYSTEM
 and OKLAHOMA POLICE PENSION AND
 RETIREMENT SYSTEM, Individually and On
 Behalf of All Others Similarly Situated,

                         Plaintiffs,        Case No. 1:19-cv-01031-RDA-TCB
 v.

 EVOLENT HEALTH, INC., FRANK WILLIAMS,
 NICHOLAS MCGRANE, SETH BLACKLEY,
 CHRISTIE SPENCER, and STEVEN
 WIGGINTON,

                         Defendants.




          [PROPOSED] SECOND AMENDED CLASS ACTION COMPLAINT
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 I.     NATURE OF THE ACTION

        1.      Lead Plaintiffs Plymouth County Retirement System and Oklahoma Police

 Pension and Retirement System (collectively, “Lead Plaintiffs”), bring this securities class action

 seeking to pursue remedies under the Securities Exchange Act of 1934, 15 U.S.C. § 78aa, et seq.

 (“Exchange Act”), on behalf of themselves and all other persons and entities who purchased or

 otherwise acquired any of the publicly-traded common stock of Evolent Health, Inc. (“Evolent”

 or the “Company”) from March 3, 2017 through May 28, 2019, inclusive (the “Class Period”),

 and were damaged thereby (collectively, the “Class”). Evolent is a Virginia-based provider of

 technology-enabled clinical and administrative services to Medicaid and Medicare health plans.

        2.      Lead Plaintiffs allege the following upon personal knowledge as to allegations

 specifically pertaining to Lead Plaintiffs and, as to all other matters, upon the investigation of

 Lead Counsel, which included: (a) analysis of public filings with the United States Securities and

 Exchange Commission (“SEC”) made by Evolent and related parties; (b) documents that Lead

 Plaintiffs obtained through a Kentucky Open Records Act request; (c) interviews with former

 employees of Evolent and other relevant companies; (d) analysis of press releases and other

 publications disseminated by Evolent and related parties; (e) analysis of shareholder

 communications, conference calls and postings on Evolent’s website concerning the Company’s

 public statements; (f) analysis of news articles concerning Evolent and related parties; (g)

 analysis of other publicly available information concerning Evolent and the Individual

 Defendants (as defined below); and (h) other materials concerning Evolent, as identified herein.

 Lead Counsel’s investigation into the factual allegations continues, and many of the relevant

 facts are known only by Defendants or are exclusively within their custody or control. Lead

 Plaintiffs believe that substantial additional evidentiary support is likely to exist for the

 allegations set forth herein after a reasonable opportunity for further investigation or discovery.


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 II.       INTRODUCTION

           3.     Throughout the Class Period, Evolent repeatedly told investors that its entire

 business model was predicated on the Company’s supposed ability to dramatically reduce its

 clients’ healthcare and administrative costs. Indeed, in virtually every one of its SEC filings,

 Evolent represented that its services would “lower clinical and administrative costs” for its

 clients, and “enable health systems to manage patient health in a more cost-effective

 manner.”1 Fueled by these assurances, Evolent experienced explosive growth: between 2016

 and 2018, the Company’s revenue increased by almost 150%, from $254 million to $627 million,

 and its stock price more than doubled from $11 in November 2017 to a high of $28.75 in

 September 2018, less than one year later.

           4.     However, as was ultimately revealed, Evolent’s statements about its ability to

 “lower costs” were materially false, and its growth was wholly illusory. Indeed, rather than

 lowering its clients’ costs, Evolent grossly overcharged its single most important client—a

 Kentucky-based Medicaid plan called Passport Health Plan (“Passport” or the “Plan”) that was

 responsible for 20% of Evolent’s annual revenue—hundreds of millions of dollars during the

 Class Period for basic healthcare management services. Significantly, as numerous former high-

 ranking employees of Passport and Evolent confirmed, and as internal documents Lead Plaintiffs

 obtained through their independent investigation that have never before been publicly disclosed

 until now make clear, Evolent dramatically increased Passport’s costs for the exact same

 administrative functions that Passport had previously been performing in-house.

           5.     Indeed, immediately upon being retained by Passport in 2016, Evolent hired away

 350 Passport employees (more than 70% of Passport’s workforce), and then proceeded to bill

 Passport exorbitant fees for the exact same services those employees were already performing—

 1
     Unless otherwise noted, all emphasis in quotations is added.


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 fees that were far in excess of what Passport had been paying. As a result, between 2015 and

 2016, Passport’s administrative expenses increased almost 60% in one year, rising from $107.5

 million to $169.1 million, and by 2018 these expenses had spiked to $194 million per year.

 Tellingly, this dramatic increase in expenses could not be tied to a corresponding increase in

 Passport’s business—to the contrary, Passport’s costs grew at a rate more than 1,000% greater

 than its revenue. As multiple former Passport and Evolent employees stated, Evolent “said they

 could cut costs by providing services; they did the opposite,” that Passport was “paying

 [Evolent] to do the stuff that we used to do, and paying them more,” and that Evolent “took 350

 of our employees, crippled our business and then charged us for services that weren’t rendered.

 Everything that was done was either more expensive or cost us more money.”

        6.      Evolent was able to enact this scheme because its agreement with Passport

 effectively made it, as Evolent’s own CEO repeatedly boasted, a “co-owner” of Passport. In

 fact, former Evolent and Passport employees made clear that Evolent’s most senior officers were

 intimately involved in all major aspects of Passport’s business, including participating in weekly

 meetings with Passport’s management team and even installing a “shadow management” team at

 Passport.   As Defendant Williams proclaimed, Evolent’s control over Passport was

 absolute: Evolent was always “at the table participating in [Passport’s operational] decisions,”

 the two companies had “joint governance,” and Evolent was “able to drive the decisions we think

 are important for performance.”

        7.      As the Class Period continued, Evolent took full advantage of its relationship with

 Passport. In the fall of 2017, Evolent took over claims administration from Passport’s longtime

 third-party claims administrator despite the fact that Evolent had absolutely no experience in

 processing complex individual medical claims, and had only recently acquired a claims




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 administration platform that was built to process bundled dental claims, which were much less

 complicated. Multiple high-ranking Evolent and Passport employees confirmed that Defendants,

 including Defendant Williams “absolutely knew” about these deficiencies, and repeatedly

 warned Evolent’s most senior management that the claims administration system was “not

 advanced enough” to process individual medical claims and was “not ready” to go live at

 Passport.

        8.      As documents obtained by Lead Counsel during their investigation conclusively

 demonstrate, Evolent’s claims administration was so utterly deficient that, unbeknownst to

 investors, Passport was rendered completely unable to comply with the most basic requirements

 of its Medicaid contract with Kentucky. Specifically, beginning in October 2017 (when Evolent

 took over Passport’s claims processing), Kentucky sent monthly penalty letters addressed

 directly to Passport’s CEO that also “absolutely were” sent to Evolent’s executives. These

 letters, whose subject line read “Consequences for Failure to Submit Encounters in Accordance

 with the Contract,” meticulously catalogued Passport’s myriad of late and improper submissions

 of medical claims “encounter” data—critical claim information that Kentucky relied upon in

 setting its Medicaid reimbursement rates.      These failures violated Passport’s contract with

 Kentucky and resulted in tens of millions of dollars in monthly penalties. For example, the

 penalty letter for February 2018 alone identified improper claims submissions that were an

 extraordinary 44 million days late in the aggregate, which resulted in a penalty of over $48

 million. Moreover, while Evolent publicly claimed throughout the Class Period that its claims

 administration services were going “incredibly well,” the penalty letters directly contradict those

 claims, and show that Evolent’s failures only increased over time: in October 2018, the penalties

 imposed on Passport for its faulty claims administration rose to over $55 million. All told,




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 between October 2017 and April 2019, Kentucky imposed staggering penalties of nearly half a

 billion dollars on Passport precisely because Passport was unable to properly and timely submit

 encounter data. Defendants were unquestionably aware of these penalty letters; indeed, Evolent

 agreed to foot the bill for them for a period of time.

        9.      Moreover, as numerous former Passport and Evolent employees confirmed,

 Evolent’s claims administration services were so defective that they not only massively increased

 Passport’s administrative costs, but also caused Kentucky to dramatically reduce Passport’s

 Medicaid reimbursement rates—a crushing combination that brought Passport to the brink of

 insolvency. As these former employees explained, Passport’s financial problems were “100%”

 due to misreporting encounter data, and “the Medicaid rate cuts were a result of Passport’s own

 failure to submit encounter data correctly”—a failure entirely attributable to Evolent.

        10.     The combination of Evolent’s exorbitant fees and its disastrous claims

 administration failures eventually had a catastrophic impact on Passport.                 As Evolent

 management would later admit, in January 2019 Evolent realized that the “writing was on the

 wall” that Passport’s financial situation was so desperate it would likely need a bailout. Yet

 Defendants disclosed none of this to its investors, and instead went out of their way to assure

 investors that Evolent had no intention of bailing out or purchasing the ailing health plan.

 Indeed, during Evolent’s February 26, 2019 earnings call, Defendant Williams expressly denied

 that Evolent would even consider bailing out Passport, stating that such a bailout was “just not in

 our strategic lens” and not “currently being evaluated.” Even as late as May 7, 2019, during

 Evolent’s earnings call for Q1 2019, Defendant Williams assured investors that “Passport is

 making solid progress towards improving its financial performance” and “we continue to partner

 with Passport to drive performance improvement in all aspects of operations . . .”




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          11.     As a result, the market was stunned when a mere three weeks later, on May 29,

  2019, Evolent abruptly reversed course. On that day, Evolent made the shocking announcement

  that, contrary to its prior assurances, Passport’s financial condition was so dire that the Company

  had no choice but to acquire it in a last-ditch effort to save its most important client and revenue

  stream. In response to the news of Evolent’s massive and cash-draining emergency bailout of its

  largest customer, Evolent’s stock price collapsed. The stock lost nearly 30% of its value in a

  single day, falling from $14.15 to $10.01 per share on May 29, 2019, on extraordinarily high

  volume—a decline of more than 65% from the price it traded at just eight months earlier.

          12.     Analysts reacted angrily to the disclosure, noting that it directly contradicted

  Defendants’ prior assurances regarding Passport’s financial condition. For example, SunTrust

  noted that the acquisition “signals that Passport wasn’t in a position to remain operationally

  sustainable as a standalone entity,” and that Evolent’s “investment and balance sheet

  commitment is likely instrumental in supporting the business.”         SunTrust further criticized

  Defendants’ prior misleading denials that Evolent would have to bail out Passport, noting that

  “[m]anagement has previously talked down going after Passport as recently as 4Q18 earnings

  call,” and that “management cited they had ‘not contemplated acquiring a full Medicaid plan,’

  that it’s ‘not in our strategic lens at this point.’”

          13.     During an investor call the very next day, Defendant Williams admitted that

  Evolent had no choice but to buy out Passport, stating that “ideally, we’d love [] not to be []

  investing alongside [] clients in this way in this particular situation.”       Moreover, Evolent

  management admitted that it had known of the risk it would have to bail out Passport no later

  than January 2019, even as it continued to assure investors in February 2019 that no such risk

  existed. Indeed, as the Company’s COO and co-founder Thomas Peterson admitted, “starting in




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  January, once the writing kind of became on the wall . . . there was [an] additional level of

  urgency that was placed on this. . . .”

         14.     As a result of Defendants’ fraudulent scheme, Evolent’s stock price has never

  recovered and currently trades well below its Class Period high. Moreover, in November 2019,

  the Commonwealth of Kentucky announced that it would not renew Passport’s Medicaid

  contract, and disclosed information revealing that Passport was clearly the most poorly run

  health plan of any applicant in Kentucky. As a result of Defendants’ violations of the federal

  securities laws, investors who purchased Evolent common stock at artificially inflated prices

  during the Class Period have suffered substantial losses. This action seeks redress on behalf of

  these aggrieved shareholders.

  III.   PARTIES

         A.      Lead Plaintiffs

         15.     Lead Plaintiff Plymouth County Retirement System (“Plymouth”) is a public

  pension system organized for the benefit of current and retired municipal and county employees

  of Plymouth County, Massachusetts. It manages over $1 billion in assets and has over 11,000

  participants. As set forth in its certification filed on October 7, 2019 (ECF No. 20-2) and

  incorporated herein, Plymouth purchased Evolent common stock during the Class Period and

  suffered damages as a result of the violations of the federal securities laws alleged herein. On

  November 12, 2019, the Court appointed Plymouth as Lead Plaintiff for the Class pursuant to 15

  U.S.C. § 78u-4(a)(3)(B). See ECF No. 29.

         16.     Lead Plaintiff Oklahoma Police Pension and Retirement System (“Oklahoma

  Police”) is an administrator of a multi-employer, cost-sharing defined benefit pension plan that

  provides participants with retirement, death and disability benefits. Oklahoma Police covers

  substantially all police officers employed by the 141 municipalities and state agencies within the


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  State of Oklahoma. It manages approximately $2.5 billion in assets and has over 5,000

  participants. As set forth in its certification filed on October 7, 2019 (ECF No. 20-2) and

  incorporated herein, Oklahoma Police purchased Evolent common stock during the Class Period

  and suffered damages as a result of the violations of the federal securities laws alleged herein.

  On November 12, 2019, the Court appointed Oklahoma Police as Lead Plaintiff for the Class

  pursuant to 15 U.S.C. § 78u-4(a)(3)(B). See ECF No. 29.

          17.     Plymouth and Oklahoma Police are collectively referred to herein as “Lead

  Plaintiffs” or “Plaintiffs.”

          B.      Defendants

          18.     Defendant Evolent Health, Inc. is a Delaware corporation with its principal

  executive offices located in Arlington, Virginia. Evolent was founded in 2011 by its then-

  managing members, healthcare consulting firm The Advisory Board Company (“ABCO”) and

  nonprofit health enterprise University of Pittsburgh Medical Center (“UPMC”).         Individual

  Defendants Williams and Blackley were each former ABCO executives, and have run Evolent

  since its inception. Evolent held its initial public offering in June 2015, and its common stock

  trades on the NYSE under the symbol “EVH.”

          19.     Defendant Frank Williams (“Williams”) was, at all relevant times, Chief

  Executive Officer (“CEO”) of Evolent. Williams also is a co-founder of Evolent and sits on the

  Company’s Board of Directors (“Board”). Prior to founding Evolent, Williams served as CEO of

  ABCO from June 2001 to September 2008 and as its Chairman of the Board from September

  2008 to August 2011.

          20.     Defendant Nicholas McGrane (“McGrane”) was, at all relevant times, Evolent’s

  Chief Financial Officer (“CFO”).




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         21.      Defendant Seth Blackley (“Blackley”) is also a co-founder of the Company and a

  Board member and was, at all relevant times, President of Evolent’s operating subsidiary,

  Evolent Health LLC.      Prior to founding Evolent, Blackley was the Executive Director of

  Corporate Development and Strategic Planning at ABCO from May 2004 to August 2011.

         22.      Defendant Christie Spencer (“Spencer”) was Evolent’s National Chief Medicaid

  Operating Officer from 2016 to February 2018. Prior to that, she was Vice President and Chief

  Operating Officer of Passport from May 2011 through January 2016.

         23.      Defendant Steven Wigginton (“Wigginton”) joined Evolent in 2012 and was, at

  all relevant times, CEO of Valence Health, Inc., a company Evolent acquired in October 2016.

         24.      Defendants Williams, McGrane, Blackley, Spencer, and Wigginton are

  collectively referred to as the “Individual Defendants.”

         25.      Evolent and the Individual Defendants are collectively referred to as the

  “Defendants.”

         26.      During the Class Period, the Individual Defendants, as senior executive officers

  and/or directors of Evolent, were privy to confidential, proprietary and material adverse non-

  public information concerning Evolent, its operations, finances, financial condition and present

  and future business prospects via access to internal corporate documents, conversations and

  connections with other corporate officers and employees, attendance at management and/or

  Board meetings and committees thereof, and via reports and other information provided to them

  in connection therewith.     Because of their possession of such information, the Individual

  Defendants knew or recklessly disregarded that the adverse facts specified herein had not been

  disclosed to, and were being concealed from, the investing public.




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         27.     The Individual Defendants are liable as direct participants in the wrongs

  complained of herein. In addition, the Individual Defendants, by reason of their status as senior

  executive officers and/or directors, were “controlling persons” within the meaning of Section

  20(a) of the Exchange Act and had the power and influence to cause the Company to engage in

  the unlawful conduct complained of herein. Because of their positions of control, the Individual

  Defendants were able to and did, directly or indirectly, control the conduct of Evolent’s business.

         28.     The Individual Defendants, because of their positions with the Company,

  controlled and/or possessed the authority to control the contents of its reports, press releases and

  presentations to securities analysts, and through them, to the investing public. The Individual

  Defendants were provided with copies of the Company’s reports and publicly disseminated

  documents alleged herein to be misleading, prior to or shortly after their issuance and had the

  ability and opportunity to prevent their issuance or cause them to be corrected. Thus, the

  Individual Defendants had the opportunity to commit the fraudulent acts alleged herein.

         29.     As senior executive officers and/or directors and as controlling persons of a

  publicly traded company whose securities were, and are, registered with the SEC pursuant to the

  Exchange Act, and were traded on the NYSE and governed by the federal securities laws, the

  Individual Defendants had a duty to disseminate promptly accurate and truthful information with

  respect to Evolent’s financial condition and performance, growth, operations, financial

  statements, business, products, markets, management, earnings, and present and future business

  prospects, and to correct any previously issued statements that had become materially misleading

  or untrue, so that the market price of Evolent’s common stock would be based on truthful and

  accurate information. The Individual Defendants’ misrepresentations and omissions during the

  Class Period violated these specific requirements and obligations.




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            C.    Relevant Nonparties

            30.   During the Class Period, University Health Care, Inc. d/b/a Passport Health Plan

  (“Passport” or the “Plan”), operated as a non-profit, provider-sponsored managed care

  organization (“MCO”) that administers Medicaid benefits to eligible residents of the

  Commonwealth of Kentucky. Founded in 1997 as a pilot project to help Kentucky control

  Medicaid costs in the Louisville region, Passport was Kentucky’s first MCO and has been

  administering Medicaid in Kentucky for over 20 years. Passport was purchased by Evolent in a

  deal that was announced May 29, 2019, and that closed December 30, 2019.

            31.   Mark Carter (“Carter”) was Passport’s CEO during the entirety of the Class

  Period.

  IV.       JURISDICTION

            32.   The claims asserted herein arise pursuant to Sections 10(b) and 20(a) of the

  Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)), and SEC Rule 10b-5 promulgated thereunder (17

  C.F.R. § 240.10b-5). This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

  and 1337, and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

            33.   Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b), and

  Section 27 of the Exchange Act, 15 U.S.C. § 78aa(c). Many of the acts and transactions alleged

  herein, including the preparation and dissemination of materially false and misleading

  statements, occurred in substantial part in this District, as Evolent is headquartered in this

  District.

            34.   In connection with the acts alleged in this Complaint, Defendants, directly or

  indirectly, used the means and instrumentalities of interstate commerce, including but not limited

  to the mails, interstate telephone communications, and the facilities of a national securities

  exchange.


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  V.     OVERVIEW OF THE FRAUD

         A.      Evolent’s Entire Business Model Was Predicated on Its Purported Ability To
                 Reduce Its Clients’ Costs

         35.     Evolent provides healthcare delivery and payment services to provider-sponsored

  health systems across the Medicaid, Medicare, and commercial markets. The Company boasts

  that its “end-to-end” suite of technology-based clinical, financial, administrative, and analytical

  services is designed to capitalize on the transition of the healthcare industry from a fee-for-

  service payment model to a value-based care approach, precisely by reducing its client’s clinical

  and administrative costs through integration onto Evolent’s technological services platform.

         36.     Beginning in January 2014, the value-based care approach was implemented by

  the Affordable Care Act (“ACA”) as a way to reduce federal and state government spending on

  Medicaid and Medicare. The ACA’s move to a value-based care approach was seismic: under

  the traditional fee-for-service model, the government reimburses Medicaid and Medicare health

  plans for virtually all of the medical expenses their members incur. By contrast, under a value-

  based care approach, the government provides health plans with fixed “per member per month”

  (“PMPM”) payments based on the health of the populations served, and the health plans must

  then operate within this capitated budget. Consequently, under the fee-for-service model health

  plans face little to no financial risk, whereas under the value-based care model health plans face

  significant risk because the government will not reimburse provider-sponsored health plans for

  medical expenses incurred that exceed the predetermined PMPM amount, thus making the health

  plans themselves financially responsible for any excess medical costs.

         37.     Defendants repeatedly emphasized to investors that Evolent’s entire business was

  predicated on the claim that its high-tech services dramatically “lower[ed] clinical and

  administrative costs” for health plans such as Passport operating under the value-based care



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  model. Defendant Williams stated during a January 11, 2017 investor conference that the

  “reason[] that we ultimately launched Evolent” was because health plans moving to a value-

  based care approach “need to get [] costs under control,” and Evolent regularly told investors in

  its public filings with the SEC that its business model consisted of “one strategic option” which

  was to “reduce . . . total cost[s]” for its customers, including Passport. Accordingly, Evolent

  repeatedly promised that its services would create “a cycle of clinical and cost improvement” for

  Medicaid plans that partnered with the Company.

         38.     Evolent further represented that the Company’s technological platform, through

  which it implemented its cost-savings strategy, “empower[s] and support[s]” its value-based

  operations because Evolent’s services were used to “capitalize on multiple types of value-based

  payment relationships” and to “create a connected clinical delivery ecosystem, stratify patient

  populations, standardize clinical work flows and enable high-quality, cost-effective care.”

         39.     Evolent integrated its clients into its purportedly cost-saving technological

  platform by entering into “partnerships” with Medicaid and Medicare plans. The Company

  described these partnerships as “long-term” and “strategic” to help “leading providers that are

  attempting to [transition to value-based care].”          Evolent advertised these “long-term

  partnerships” as supposedly beneficial to its partners by enabling them to control costs and

  improve the quality of care.

         B.      Evolent Becomes a “Co-Owner” of Passport, Which Immediately Becomes
                 the Company’s Most Important Client

         40.     Evolent’s focus on “clinical and cost improvement” that enabled “high-quality,

  cost-effective care” attracted a Kentucky-based non-profit, provider-sponsored managed care

  organization called Passport to retain Evolent.      Specifically, on February 1, 2016, Evolent

  announced that it had engaged Passport as a partner pursuant to a long-term master services



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  agreement (the “Passport MSA”).         Passport partnered with Evolent because, according to

  Passport’s then-CEO Mark Carter, by the end of 2015 Passport’s healthcare delivery platform

  was “in need of replacement and upgrade.”         Thus, the Passport MSA included a 10-year

  arrangement under which Evolent was to provide services to Passport, thereby purportedly

  enabling Passport to cut costs and maintain profitability using the value-based care approach.

         41.     From the beginning of their relationship through the end of the Class Period,

  Passport was by far Evolent’s most significant client. Indeed, in the Forms 10-K the Company

  filed with the SEC for the years ending 2016, 2017, 2018, and 2019, Evolent disclosed that

  Passport accounted for the following percentages of Evolent’s overall revenue—far more than

  any other client for each of those years:

  Year                          2016             2017              2018              20192
  Evolent Total Revenue         $254.2 million   $434.9 million    $627.1 million    $846.4 million
  Evolent Revenue
                                $49.8 million    $89.6 million     $109.7 million    $158.3 million
  Attributable to Passport
  Passport Percent of
                                19.6%            20.6%             17.5%             18.7%
  Revenue

         42.     In order to maintain this substantial and reoccurring revenue stream, Evolent

  structured its agreement with Passport so that Evolent would have control over all major aspects

  of Passport’s business. Indeed, throughout the Class Period, Evolent effectively ran Passport’s

  daily operations, including managing Passport’s clinical, financial and back-office services,

  contracting with Passport’s network of healthcare providers, conducting risk adjustment and

  pharmaceutical benefit management services and processing Passport’s medial claims. Evolent’s

  control over Passport was so profound that the two companies regularly publicly described

  Evolent as a “co-owner” of Passport. For example, during an August 7, 2017 earnings call,
  2
    Evolent’s 2019 figures included here were not available at the time the Amended Complaint
  (ECF No. 38) was filed.


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  Defendant Williams boasted that Passport “look[s] at us as a co-owner” and “we really have joint

  governance and we’re able to drive the decisions we think are important for performance.”

         43.     Evolent explained that this “co-ownership” strategy was specifically designed to

  allow Evolent to exert increased levels of control over Passport.         In particular, Defendant

  Williams explained in an August 7, 2017 earnings call that this arrangement allowed the

  Company to “drive very specific actions in terms of how [Passport is] ultimately operating their

  risk business,” and enabled Evolent to “be at the table participating in [Passport’s operational]

  decisions”; “be more directive about what we require of [Passport] to drive performance”; and

  ultimately to “control many more levers than if we’re just in a pure service relationship.”

         44.     Former Passport employees confirmed that Evolent’s executives were intimately

  involved in virtually all of Passport’s operations and finances throughout the Class Period.3 For

  example, CW 1—who was a senior member of Passport’s Internal Audit team from December

  2011 to March 2019 responsible for monitoring Passport’s compliance with Kentucky-mandated

  internal controls designed to ensure Passport’s financial statements were accurate and complete,

  and who reported directly to Passport’s CFO—made clear that Evolent’s senior officers were

  directly involved in Passport’s business, including participating in weekly meetings with

  Passport’s management team. As CW 1 succinctly stated, Evolent’s senior officers always

  “knew what was going on.” Indeed, CW 1 said that “[t]he [Passport] executive team met every

  Monday and [Defendant Spencer]”—who had previously worked for Passport before moving to

  Evolent—“was always in the room.” CW 1 further elaborated that, after Spencer left Evolent in

  2018, Evolent’s then National Medicaid President—Scott Bowers, who was later named




  3
   Former Evolent and Passport employees are referred to herein as Confidential Witness (“CW
  __”) and are referenced in the feminine form to maintain their confidentiality.


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  Passport’s CEO—replaced Defendant Spencer as the Evolent executive in attendance at

  Passport’s weekly executive meetings.

         45.     Moreover, Evolent had such control over Passport that Evolent would later admit

  that the Plan had allowed Defendants to install a shadow management team at Passport well

  before Evolent announced it was acquiring the Plan. As a senior executive and co-founder of

  Evolent would later explain, “we brought in our own CMO, our own CEO, our own COO, a

  Chief Actuary, Head of Network Contracting, and we were shoulder to shoulder with Passport

  leadership.”

         46.     Accordingly, from the outset of Evolent’s relationship with Passport, Evolent was

  deeply involved in virtually every single major aspect of Passport’s operations.

         C.      Rather Than “Lower Clinical and Administrative Costs,” Evolent Drives
                 Passport to the Brink of Bankruptcy

                        Defendants “Rebadge” Hundreds of Passport Employees,
                        Dramatically Raising Passport’s Costs for the Same Services Passport
                        Once Performed In-House

         47.     Over the course of the first year of the Passport partnership in 2016, Evolent not

  only provided Passport with its suite of healthcare management services, but Evolent also began

  to provide operational, back-office-type services to Passport as well. However, as numerous

  former Passport and Evolent employees confirmed, Evolent did not possess the capabilities to

  provide many of these services to Passport, and instead merely hired away Passport’s employees

  to perform this work. Indeed, Defendants engaged in a scheme to convert over two-thirds of

  Passport’s workforce (approximately 350 of Passport’s 500 employees) and hire them as Evolent

  employees—in Evolent’s vernacular, “rebadging” Passport employees to make them its own.

         48.     According to CW 1, Evolent used the newly “rebadged” employees to take over

  various administrative functions that Passport had once performed itself and began providing



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  these same services to Passport in exchange for fees. Significantly, however, Evolent charged

  Passport far more than it had previously cost Passport to perform the same services in-house.

  According to CW 1, Passport ended up paying Evolent “more than we had been paying for the

  salaries of the people that did the work Evolent was [now] doing. . . . The admin expense was

  more than we were paying for those salaries. That’s all Evolent.”

         49.    Making matters worse, CW 1 explained that the rebadged employees were not

  performing any additional duties, but rather were doing the exact same job at Evolent that they

  had done at Passport. She explained that Passport was merely “paying [Evolent] to do that stuff

  that we used to do, and we were paying [Evolent] more.” She questioned what benefit Passport

  enjoyed from rebadging: “I didn’t understand it. To me, it was like, what are we getting out of

  it?” Significantly, former “rebadged” employees confirmed that their roles at the two companies

  were virtually identical. For example, CW 2 began working at Passport in 2016 as a Contract

  Specialist, where she was responsible for drafting contracts between Passport and the Plan’s

  healthcare providers. Once Passport became an Evolent partner, CW 2 was “rebadged” as a

  Contract Specialist employed by Evolent, where her day-to-day work responsibilities remained

  “exactly the same.” CW 3, who worked in risk adjustment at Passport and was rebadged as

  Evolent’s Associate Director of Risk Adjustment from August 2018 through July 2019, also

  confirmed the same.

         50.    Despite Evolent’s repeated promises that it would help Medicaid plans such as

  Passport “lower . . . administrative costs,” rebadging Passport employees to Evolent employees

  had the exact opposite effect by significantly driving up Passport’s costs. From 2015 through

  2017, Passport’s salary costs fell $22 million, from $39 million to $17 million, primarily as a

  result of Passport employees being “rebadged” as Evolent employees and moving off Passport’s




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  payroll. However, these salary savings were dwarfed by the increased fees that Passport paid to

  Evolent. From 2016 through 2018, the total fees that Evolent reaped from Passport more than

  doubled: from $55.5 million in 2016, to $88.2 million in 2017, and finally to $114.5 million in

  2018:4




           51.   Moreover, in the case of many services, Evolent was actually costing Passport far

  more than it was saving. For example, Evolent began providing risk adjustment services to

  Passport around July 2016. Risk adjustment involves compiling data on how sick Passport’s

  patient population had been in a given period of time and the amount of medical expenses

  incurred, and then submitting that data to Kentucky. If it turned out that Passport’s members had

  been sicker and needed more medical care than the members of Kentucky’s other Medicaid

  health plans, Passport could obtain a risk adjustment payment from Kentucky to compensate for

  the difference. However, Evolent performed abysmally at this task and actually lost money for

  Passport. According to CW 3, who worked in risk adjustment first at Passport and then at


  4
   These figures, which were previously based on information reported in Passport’s IRS Forms
  990, have been updated to reflect the information Evolent reported for the first time in its
  February 28, 2020 Form 8-K/A. The chart has been updated accordingly.


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  Evolent, Evolent charged Passport millions of dollars more for its risk adjustment services than

  the Plan obtained in additional payments from the state, ultimately costing Passport twice as

  much in fees as the services “saved”—which CW 3 described as a “one to two R[eturn] O[n]

  I[nvestment].” CW 3 said that Evolent similarly cost Passport money in several other service

  areas, including recontracting with healthcare providers and healthcare quality initiatives.

          52.    Former employees corroborated the practical realities of Evolent’s scheme. As

  CW 1 stated, Evolent “didn’t do all the great things that [it] was supposed to do”; “[Evolent] said

  they could cut costs by providing services; they did the opposite.” Indeed, if Evolent ever saved

  Passport money in any area at all, according to CW 1, it was done merely by “cutting heads [i.e.

  personnel] and services [to plan members],” not through the Company’s purported high-tech

  solutions that were supposed to use data analysis to make Passport’s operations more cost-

  efficient.

          53.    In sum, Evolent’s “rebadging” strategy was a far cry from a cost-savings tool and

  was in reality nothing more than a scheme to fraudulently capitalize on its control over Passport.

  Indeed, between 2015 and 2016, Passport’s administrative expenses increased almost 60% in one

  year, rising from $107.5 million to $169.1 million (a growth rate that was more than 1,000%

  greater than its revenue growth). Moreover Passport had a net underwriting gain of $33.3

  million in 2015—essentially, a true measure of operational cost efficiency derived by subtracting

  claims payments and general administrative expenses from Passport’s total Medicaid revenue—

  but suffered a net underwriting loss of $80.4 million in 2016 after Evolent was brought onboard.

                         Evolent Saddles Passport With Its Faulty Claims Processing Platform,
                         Which Directly Leads to the Crippling 2018 Medicaid Rate Cuts

          54.    In addition to the exorbitant fees that Evolent’s “rebadging” tactic imposed on

  Passport, the Company compounded Passport’s increasingly out of control costs by taking over



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  Passport’s vitally important claims processing management. Significantly, Evolent implemented

  its claims processing system at Passport despite the fact that the Company had no experience

  with claims processing and planned to perform this crucial function using a recently-acquired

  claims administration platform that was built to process group dental claims, which were

  substantially different and less complex than processing Passport’s individual medical claims.

  Indeed, as set forth below, Evolent knew at the outset that its claims administration platform was

  severely defective and completely unequipped to handle claims administration for Passport.

         55.     The result was an entirely predictable and avoidable “disaster” according to high-

  ranking former Passport and Evolent employees. Evolent rendered Passport utterly incapable of

  properly, accurately, and timely processing and paying its claims. As a result, underpayments,

  overpayments, and delayed payments skyrocketed, resulting in tens of millions of dollars in

  interest payments on late paid claims, reprocessing costs and unrecoverable provider

  overpayments—a debilitating additional cost burden on Passport’s already-struggling finances.

         56.     Making matters worse, Evolent’s platform was wholly incapable of processing

  and submitting essential Medicaid claims data (known as “encounter data”) to Kentucky—the

  very data that Kentucky used to set Passport’s Medicaid reimbursement rates. As set forth

  further below, Evolent’s abysmal failure to perform this basic and essential function for Passport

  resulted in hundreds of millions of dollars in penalties imposed on Passport by the state, and

  further, ultimately caused Kentucky to cut Passport’s Medicaid reimbursement rates,

  dramatically reducing Passport’s revenue and accelerating the Plan’s financial decline.

                                A Recipe For “Disaster”: Evolent Transfers Passport Onto Its
                                Knowingly Defective Claims Processing Platform

         57.     In May 2017, Evolent announced that effective October 1, 2017, it would replace

  AmeriHealth, Passport’s long-standing third-party claims processor, with Evolent’s own medical



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  claims processing platform, known as Valence. Valence was not part of the “suite of services”

  Evolent had originally contracted with Passport to provide.      Rather, in late 2016, Evolent

  acquired two companies that provided claims processing services to health plans, Valence

  Health, Inc. (“Valence”) and Aldera Holdings, Inc. (“Aldera”), Valence’s primary software

  provider. By acquiring Valence and Aldera and then integrating them with its other services,

  Evolent claimed to have the capabilities needed to provide medical claims processing and

  administration services to its partners, which were critically important functions for Medicaid

  plans such as Passport for several reasons.

         58.     First, as Passport’s claims administrator, Evolent would be tasked with ensuring

  all of the medical claims submitted to Passport were processed and paid timely and correctly.

  Payment of these claims constituted the vast majority of Passport’s total costs, and further,

  failure to timely or correctly pay claims could have major financial consequences, such as

  incurring interest penalties and reprocessing expenses.

         59.     Second, Evolent would be required to collect data known as “encounter data” on

  each medical claim it processed. This encounter data was essentially a description of what was

  wrong with the patient, how sick the patient was, and what care was needed. Functionally,

  encounter data provided documentary evidence of Passport’s members’ medical expenses. Thus,

  Evolent was required to regularly submit this data to Kentucky on behalf of Passport, which the

  Commonwealth would then use to set Medicaid reimbursement rates every six months—i.e., to

  determine the amount of Medicaid payments Kentucky would make to health plans like Passport.

         60.     Moreover, failure to properly submit encounter data could lead to substantial

  penalties from the state. Encounter data was thus essential to Passport’s ability to operate in a

  financially sound manner. Indeed, during Evolent’s annual Analyst and Investor Day conference




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  on May 11, 2018, Evolent co-founder and long-time Chief Operating Officer, Tom Peterson,

  emphasized that accurately reporting and managing encounter data was “one of the most

  important things in Medicaid”:

         One of the most important things in Medicaid is encounter reporting, you’re
         reporting your encounters to the state to make sure that you’re accurately
         reflecting the claims volume since you’re paying the claims and the actuaries are
         going to set the rates so you need to get as high of an encounter experience as
         possible. So how you actually manage encounters is really important.

         61.     Due to the critical importance of claims administration and processing to

  Passport, Defendants closely monitored Valence’s progress and repeatedly touted the success of

  its integration during the Class Period. For instance, during an investor earnings call on May 9,

  2017, Defendant Williams assured investors that the integration of Valence’s claims processing

  technology into Evolent’s other services “has gone incredibly well” and that, with regard to

  “bringing on Passport, that’s going to be another 300,000 lives on the [Valence] platform, and

  our commitment was to get that absolutely right in terms of serving clients at a high standard

  from the outset.”

         62.     In reality, well before October 2017, Defendants knew that the Valence platform

  was utterly unequipped to handle processing claims for Passport. As CW 1 explained, Evolent

  had no prior experience with Medicaid claims processing—“all they were offering was a care

  management system. [Evolent] didn’t know Medicaid claims processing.” Indeed, as CW 1

  elaborated, “to move from [Passport’s prior claims processing vendor, AmeriHealth] that you’ve

  had for 15 years, to a company like Valence with comparatively no history didn’t make sense”

  because “claims processing is the biggest thing that insurance companies do. Evolent said that

  they had a plan to make Valence work; everyone at Passport was skeptical.”

         63.     The problems with integrating Valence went far beyond Evolent’s own lack of

  claims processing experience. As CW 1 further explained, the Valence platform lacked the


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  capabilities needed to manage Medicaid medical claims because “Valence initially was built to

  be a dental claims processing system” and “dental and medical are two different things.” Dental

  and individual medical—as opposed to group medical—are more different still, she explained,

  and consequently, using Valence to manage Passport’s claims “just doesn’t work.” CW 3

  corroborated the fact that the Valence platform was initially designed to manage group dental

  claims, and that Evolent attempted to “buil[d] it out” post-acquisition to support the processing

  of individual medical claims, which were managed completely differently. For example, as CW

  3 explained, one of the primary problems was that dental claims are usually “limited in scope”

  and “bundled”—meaning that if a dental claim for a crown was submitted, all the other

  procedures that accompanied the crown (such as root canal, cleaning, etc.) were bundled in with

  that one claim. Medicaid medical claims, in contrast, were individualized, not bundled.

         64.     Consequently, according to CW 3, a platform built to process bundled dental

  claims was “not advanced enough” to support processing Passport’s individual medical claim

  data. CW 2, who was working on the Valence platform for Evolent at the time, aptly described

  the same integration problem, stating: “there were fundamental problems that we couldn’t

  change, we were just applying band-aids and fixes to it to get it to work.”

         65.     Defendants knew that the Valence integration was encountering severe

  difficulties, that the platform was completely unfit for use to manage Passport’s medical claims,

  and that these problems could not possibly be fixed by the October 1, 2017 go-live date. For

  example, CW 2 said she made it known to Evolent management on “a number of occasions” that

  the Valence platform was not ready or adequate, and emphasized that “it wasn’t just me” telling

  management of the problems. In fact, CW 2 said, “[p]retty much everyone from Passport was

  telling them” the transition would not go smoothly. Other former employees corroborated these




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  accounts. CW 4, a former Evolent Medicare/Medicaid Quality Analyst from 2016 to July 2019

  specifically tasked with analyzing Passport’s medical claims data, said it was clear at the outset

  that “the system wasn’t ready.”

                                Former Passport and Evolent Employees Confirm That The
                                Valence Platform Was an Utter “Disaster” for Passport

         66.     Despite these repeated and vociferous warnings, Evolent transitioned Passport to

  its Valence platform on October 1, 2017, reiterating the cost savings and efficiencies that would

  result from integrating Valence.     For example, during an investor conference, Defendant

  Williams boasted that “by bringing [the Valence platform] in-house,” Evolent would “improve

  margins dramatically.” Indeed, Evolent told investors that bringing Passport onto the Valence

  platform alone would bring Evolent an additional $20 million in revenue per year. One month

  later, during Evolent’s November 2, 2017 earnings call, Williams celebrated the transition,

  stating: “we’ve successfully launched Passport [. . .] onto our [Valence] services platform, which

  should contribute meaningfully to our revenue in 2018.” Williams further assured investors that

  Evolent’s “teams continue to monitor operations closely and report a smooth transition.”

         67.     Defendants’ claims could not have been further from the truth. Indeed, according

  to CW 4, Passport’s transition onto Evolent’s Valence platform was a “disaster” from the very

  outset. Evolent’s defective Valence claims administration platform became yet another way in

  which Evolent dramatically increased Passport’s costs, rather than “lowering” its costs as

  Defendants told investors Evolent’s services would do.

         68.     First, Valence’s defects led to pervasive late payments of claims submitted by

  healthcare providers, and Passport was contractually obligated to pay interest when claims were

  paid late. As CW 1 confirmed, “if you make a claims payment later than 30 days you have to

  pay interest [to the healthcare provider who submitted the claim], so that [expense] went up a



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  lot.” As she put it, “claims processing did change when [Evolent] took over, but it was because

  they weren’t paying them.”

          69.     Second, Evolent’s pervasive failure to correctly process claims caused Passport to

  incur extensive reprocessing costs, as each incorrectly processed claim would have to be

  reprocessed. As CW 3 explained, “when you have thousands and thousands [of incorrectly

  processed claims], that adds up.”

          70.     Third, as CW 1 confirmed, Evolent’s defective claims processing platform caused

  Passport to make tens of millions of dollars in overpayments to healthcare providers, which the

  Plan was unable to recoup.            While Passport might normally be able to recoup these

  overpayments by applying them as credits to future claims by those providers, Evolent’s Valence

  system was so defective that the Company could not determine how to correct these

  overpayments, making those tens of millions of dollars effectively uncollectable. According to

  CW 1, Passport had never had meaningful amounts of claims overpayments prior to Evolent

  taking over, yet, under Evolent, Passport’s overpayments “were so big and so old that [healthcare

  providers] could have a credit balance from 2018 and they weren’t processing claims in 2019, so

  how do we get that back?” Indeed, Passport’s own financial statements later confirmed that, by

  the end of 2018, Passport had accrued a staggering $20.5 million in claims overpayment

  receivables—which, more than one year after taking over Passport’s claims processing, Evolent

  still had not been able to recoup. The problems were so systemic that, as CW 1 recounted, when

  she left Passport in March 2019 to pursue other career opportunities, Evolent and Passport “were

  still trying to figure [this] out.”

          71.     Fourth, CW 1 further recounted that, once Evolent took over claims processing,

  Passport’s claims payments became incredibly difficult to forecast, making Passport’s finances




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  impossible to manage: “if you talk to the actuaries [at Passport] about their ability to do their job

  after Evolent started handling claims – their ability to predict patterns of claims went away. If

  you can’t predict, or you are underpaying, there are problems.” Moreover, she said, Evolent’s

  processing of claims was so inept and difficult to understand that even “I couldn’t audit it.”

  Evolent’s claims administration failures were so rampant and costly that, according to CW 3,

  Evolent stood up a daily “war room” to try to address the mounting crisis. According to CW 3,

  Evolent’s Medicaid Market President was present at each war room meeting, and would then

  create presentations based on the meetings to share with Evolent’s most senior executives to

  keep them updated on this pressing situation.

         72.     In short, Evolent’s implementation of its Valence platform to process Passport’s

  medical claims was an utter failure and wreaked havoc on all aspects of this critical functioning,

  causing tens of millions of dollars in increased costs to the Plan.

                                 Evolent’s Defective Claims Administration Led Kentucky To
                                 Assess Passport with Hundreds of Millions of Dollars in
                                 Penalties For Improper and Untimely Data Submissions

         73.     In addition to the tens of millions of dollars in increased costs that Evolent’s

  claims administration failures imposed on Passport, Evolent’s materially deficient claims

  processing led to an even greater problem: Evolent’s services caused Passport to submit

  inaccurate and untimely encounter data to the Commonwealth of Kentucky, which carried

  significant contractual penalties.

         74.     Specifically, Passport’s Medicaid contract required Evolent to timely and

  accurately submit “encounter data”—data collected from each medical claim about how sick or

  healthy a patient was and what care was required—to Kentucky’s Department for Medicaid

  Services (“DMS”). This data was essential to DMS, because DMS needed it to determine the

  appropriate Medicaid reimbursement rates to pay Medicaid plans such as Passport.              If the


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  population was sicker and needed more care, rates would increase, and if the population was

  healthier and needed less care, rates would decrease. Because encounter data was so essential to

  DMS’s ability to accurately set Medicaid reimbursement rates, its contracts with health plans like

  Passport imposed severe monetary penalties—which Kentucky would subtract from the Plan’s

  capitation payments—if such data was not timely or properly submitted.

         75.     Evolent’s claims administration platform was so defective that it was essentially

  incapable of timely and accurately submitting encounter data, which resulted in millions of

  dollars in monthly fines immediately after Passport adopted Evolent’s platform.            Indeed,

  documents obtained by Lead Plaintiffs from the Commonwealth of Kentucky—the contents of

  which had never been publicly disclosed until now—confirm just how severely deficient

  Evolent’s Valence platform was at properly aggregating and submitting encounter data to the

  state. Specifically, a series of monthly “penalty letters” that Kentucky’s DMS sent directly to

  Passport’s most senior officers—including Passport’s CEO, CFO and Director of Claims &

  Reimbursement—show that, throughout the Class Period, Passport was regularly assessed

  hundreds of millions of dollars’ worth of penalties due to Evolent’s failure to timely and properly

  submit encounter data.

         76.     The penalty letters sent each month by the Commonwealth of Kentucky make

  clear how pervasive and systemic the problems were with Passport’s claims administration

  services—and also make clear that these issues were well known to Passport’s and Evolent’s

  most senior officers. Indeed, each month during the Class Period, Kentucky’s DMS sent

  Passport’s most senior officers a detailed, multi-page letter whose subject line read

  “Consequences for Failure to Submit Encounters in Accordance with the Contract.” Those

  letters then set forth, in painstaking detail, the myriad ways that Passport failed to comply with




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  its Kentucky Medicaid contract. For example, pursuant to its agreement, if Passport failed to

  submit encounters within 30 days of the adjudication date (the date the claim was either accepted

  or denied), Passport was subject to a fine of $1 per encounter per day. According to the penalty

  letter for February 2018, which was sent to Passport on March 16, 2018, the encounter data

  Passport submitted in February alone were a remarkable 44,115,599 days late in the aggregate,

  resulting in a penalty of $44,115,599. Similarly, if Passport failed to resubmit error encounter

  files within 60 days from receiving notice of such error, Passport was subject to a “late fee” of $1

  per encounter per day for each day over 60 days. Again, the penalties that Passport was

  subjected to were staggering: in February, “[b]ased upon the February data report, Passport

  Health Plan had 2,178,712 records over sixty (60) days [late] for a penalty of $2,178,712.”

         77.      Significantly, the massive penalties that Passport was assessed during the Class

  Period stand in stark contrast to Passport’s pre-Evolent claims processing, which resulted in de

  minimis penalties each month. For example, during the nine-month period prior to Evolent

  taking over claims processing for Passport, Passport averaged penalties of just $33,000 per

  month. By contrast, in October 2017—the first month Evolent handled claims processing—

  Passport’s assessed penalties immediately skyrocketed to $619,625—an increase of roughly

  1,800%.      Moreover, even this stunning immediate increase paled in comparison to the

  astronomical penalties imposed on Passport in subsequent months as a result of Evolent’s utterly

  deficient claims processing. In fact, rather than Evolent remedying the pervasive problems, the

  systemic failures only worsened. As set forth above, in February 2018 alone, Evolent caused

  Passport to be assessed with a staggering $48 million in penalties for untimely and improperly

  submitted encounter data. In October 2018, Passport submitted encounter data that was more

  than 50 million days late in the aggregate, and its corresponding penalty totaled $56 million.




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  And, for each of November and December 2018, Passport’s encounter data penalties topped

  $100 million per month. In all, from October 2017 through April 2019, Evolent caused Passport

  to incur a staggering $489 million in penalties for deficient encounter data submissions in

  violation of its contract with Kentucky—an amount so large that it would have bankrupted the

  Plan. Both CW 1 and CW 3 corroborated that these massive penalties were entirely the result of

  Evolent’s abject failure to properly and timely submit encounter data.

         78.      The only reason that these penalties did not drive Passport into immediate

  insolvency was that under its Medicaid contract with Kentucky, Passport’s penalties were capped

  at 0.33% of their monthly capitation revenue. However, even under these “capped” penalty

  rates, Passport was forced to pay more than $10 million to Kentucky between October 2017 and

  April 2019—an amount equivalent to one-third of Passport’s entire net operating gain for 2015

  (the year before Evolent took over at Passport).

         79.      Accordingly,     as   set   forth   above,   Evolent’s     utterly   deficient   claims

  administration—which caused Passport to breach its Medicaid contract with Kentucky—not only

  caused Passport to incur tens of millions of dollars in dramatically increased reprocessing costs,

  interest payments and penalties, but it also played a significant role in Kentucky’s decision to

  reduce its Medicaid reimbursement rates to Passport and, ultimately, caused Passport to lose its

  contract entirely.

                                  Evolent’s Failure to Properly Submit Encounter Data to
                                  Kentucky Leads Kentucky to Cut Passport’s Medicaid
                                  Reimbursement Rates, Further Imperiling the Plan’s Finances

         80.      Making matters even worse for Passport,                  Evolent’s deficient claims

  administration led to Kentucky’s decision to cut its Medicaid payments to Passport in the second

  half of 2018.        Specifically, on May 30, 2018 Passport learned that Kentucky planned to

  significantly cut its Medicaid rates for the geographic region covering the majority of Passport’s


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  members, for the six-month period July 1, 2018 through December 31, 2018 (the “2018 rate

  cuts”). The 2018 rate cuts did not actually go into effect until November 1, 2018, but were

  retroactively applied to the period beginning July 1, 2018, resulting in Passport’s Medicaid

  revenue being reduced by 3.2% during that time period.

         81.     Unbeknownst to investors, however, Evolent’s deficient claims processing

  services were directly and solely at fault for these rate cuts, and the resulting financial harm to

  Passport. Indeed, while Passport publicly protested the 2018 rate cuts and blamed Kentucky for

  what it claimed was an unfair process, multiple CWs corroborated the penalty letters and

  confirmed that the 2018 rate cuts were directly caused by Evolent’s failure to properly submit

  Passport’s encounter data to the state. As CW 3 bluntly stated, “the Medicaid rate cuts were a

  direct result of Passport’s own failure to submit encounter data correctly,” which was a

  “downstream effect” of Evolent’s defective claims administration platform. CW 3 had direct

  knowledge of the 2018 rate cuts because of his position in Evolent’s risk adjustment department

  at this time, in which he was responsible for aggregating encounter data for Medicaid claims and

  analyzing it to estimate the likelihood a given patient population will get sick.

         82.     According to CW 3, immediately after they learned of the 2018 rate cuts, high-

  level executives of Evolent, including Evolent co-founder and long-time COO, Tom Peterson,

  “were here on the ground for weeks on end trying to work to get things fixed.” CW 1 confirmed

  that Evolent knew of Passport’s dire financial circumstances as soon as Passport’s own

  management knew of the situation. “Whenever Passport knew, Evolent knew,” CW 1 said,

  adding “they sit at the table.”

         83.     The financial impact to Passport from these cuts was so severe that Passport

  would report a loss of $65.5 million by year-end 2018 and project an additional $75 million loss




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  for the first half of 2019. Indeed, both Evolent and Passport would publicly blame these rate cuts

  for Passport’s severe financial distress, but Defendants never disclosed that these rate cuts were,

  in fact, a direct result of Evolent’s claims administration failures.

                         In Just Three Years, Evolent Pushes Passport to the Brink of
                         Financial Ruin

         84.     Once a profitable and nationally-ranked health plan, Evolent’s parasitic fees and

  faulty claims administration services rapidly turned Passport from the crown jewel of Kentucky

  Medicaid plans into a financially-insolvent shell of its former self. As CW 1 explained, “before

  Evolent came in, Passport was seen as a plan that did things well.” Indeed, by 2011 Passport was

  nationally ranked as the 13th best Medicaid health plan in the United States, and by 2014,

  Passport served over 236,000 Kentucky Medicaid recipients. The Plan enjoyed profits of $115

  million in 2014 and $39 million in 2015, and ended each of those years with $214.9 million and

  $249.9 million in capital, respectively. Moreover, Passport renewed its long-standing contract

  with Kentucky in 2015, under which Passport would continue to administer Medicaid in

  Kentucky for the next five years.

         85.     However, the story changed dramatically the moment that Evolent took over.

  Before retaining Evolent, Passport incurred total general administrative expenses of $107.5

  million in 2015. After engaging Evolent, Passport incurred general administrative expenses of

  $169.1 million in 2016, $182.7 million in 2017, and $194 million in 2018—increases of 57%,

  70%, and 80%, respectively, over the expenses that had been incurred in 2015, the year

  immediately preceding the Evolent partnership. These ever-increasing general administrative

  expenses were a direct outgrowth of Evolent’s exorbitant fees, as shown in in the chart below:




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         86.     Significantly, these staggering increases in Passport’s expenses cannot be tied to

  any corresponding growth in Passport’s revenue.        Indeed, in the first year of Evolent’s

  partnership with Passport, Passport’s $62 million jump in total administrative expenses

  represented a staggering 57% increase over the prior year—while Passport’s revenues increased

  by only about 5% for the same period. Moreover, while Passport reported its expenses and fees

  to regulators, investors had no idea that it was Evolent causing these expense increases, while

  failing to actually reduce Passport’s overall costs or otherwise help the Plan operate in a more

  cost-effective manner. According to CW 4, by this point Passport was already “a mess,” and

  Evolent was known throughout Passport to be its worst performing third-party service provider

  from a cost-efficiency perspective.

         87.     As a result, during the Class Period, Passport’s profits were transformed into

  massive losses, depleting Passport’s capital by more than $150 million, from a high of $250

  million in 2015 to $92 million in 2018.      Passport’s annual “net underwriting gain (loss)”

  metric—essentially a true measure of operational cost efficiency derived by subtracting claims


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  payments and general administrative expenses from Passport’s total Medicaid revenue—

  drastically swung from significant net underwriting gains pre-Evolent to devastating net

  underwriting losses post-Evolent. As reflected in the chart below, while Passport had a net

  underwriting gain of $33.3 million in 2015, after retaining Evolent, Passport had a net

  underwriting loss of $80.4 million in 2016, a de minimis net underwriting gain of $4.3 million

  for 2017, and a $130.7 million net underwriting loss for 2018:




         88.    In sum, Evolent financially crippled Passport, transforming it from one of

  Kentucky’s most successful Medicaid providers into a hollowed-out shell teetering on the brink

  of insolvency. Nearly overnight, Passport’s fees skyrocketed as former employees confirmed

  that Passport was paying Evolent grossly excessive fees for rebadged former Passport employees

  to do the exact same jobs at Evolent. Evolent not only cannibalized Passport’s existing revenue,

  but also decimated Passport’s ability to actually generate revenue through the faulty

  implementation of the Valance claims processing platform, leading to significant net



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  underwriting losses during the Class Period. Passport soon began spiraling out of control, unable

  to continue to pay Evolent’s massive fees while unable to determine how much money it should

  receive from Kentucky.

         D.      “I . . . Watched Evolent Run Passport to the Ground” and “Cripple Our
                 Business”: The Detailed Account of a Former Senior Passport Executive
                 Confirms Defendants’ Fraud

         89.     After the Amended Complaint (ECF No. 38) was filed and briefing on

  Defendants’ motion to dismiss was complete, CW 5, a former senior Passport executive for

  nearly six years, contacted Lead Plaintiffs’ counsel on her own initiative. CW 5 was Passport’s

  Senior Director of Information Technology from February 2020 to March 2020, and prior to that

  was the Director of Information Technology (March 2017 to February 2020), and the Manager of

  Infrastructure and IT Operations (October 2014 to February 2017). In her role, CW 5 reported to

  Passport Chief Operating Officer Carl Felix and was directly responsible for designing,

  maintaining, and managing Passport’s IT infrastructure. CW 5 worked directly on Valence and

  saw its multiple deficiencies first-hand, explaining that “it was my job for two years to figure out

  what was broken right after [Valence] was presented to Passport.” She stated that “I was in the

  middle of everything and watched Evolent run Passport to the ground.”

         90.     CW 5 stated that she had contacted Lead Plaintiffs because she had read the

  Amended Complaint, and she wanted to, and could, corroborate the statements attributed to the

  other CWs—particularly CW 1, with whom she had a close working relationship—and to refute

  any suggestion by Defendants that Evolent saved Passport money or was unaware of the

  significant issues facing Passport during the Class Period. For example, CW 5 revealed that:

                 •   Defendant Williams “absolutely knew” that there were multiple issues with
                     Valence—including that it was designed as a dental claims system and could
                     not properly report Medicaid claims data—because in “every relationship
                     meeting that we had that came up. Someone always barked about them.”



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                 •   Multiple meetings took place between CW 5, Passport COO Carl Felix,
                     Defendant Williams, and others, which got into very technical details about
                     why Valence was not working.

                 •   The deficiency letters Passport received documenting hundreds of millions of
                     dollars of fines and penalties as a result of faulty encounter data submission
                     “absolutely were” sent to Evolent executives and that “Evolent agreed to foot
                     the bill” for the fines for a period.

                 •   The financial problems that Passport began experiencing in 2018 were
                     “100%” due to Valance misreporting encounter data, and resulted in Passport
                     paying out millions of dollars to providers that was not reimbursed by
                     Kentucky.

         91.     CW 5’s highly detailed account unquestionably establishes that Defendants lied to

  investors. Indeed, any claim by Evolent that they were not aware of the issues facing Passport,

  CW 5 explained, is “100% inaccurate.” CW 5 bluntly explained that Evolent “took 350 of our

  employees, crippled our business and then charged us for services that weren’t rendered.

  Everything that was done was either more expensive or cost us more money.”

                        Defendants, Including Defendant Williams, “Absolutely” Knew of
                        Valence’s Implementation Problems and Flaws

         92.     CW 5 confirmed that prior to the Evolent partnership, Passport had been relying

  on AmeriHealth to perform claims administration services. CW 5 revealed that Evolent decided

  to move Passport from AmeriHealth to Valence not to save Passport money, but rather to get a

  piece of the $20 to $30 million per year fees that Passport was paying to AmeriHealth. CW 5

  explained that Evolent saw these fees and reasoned that if Evolent could provide claims

  processing services to Passport, it could also then expand those services to other health plans

  across the country, thus generating additional revenue for Evolent.

         93.     CW 5 stated that the fundamental problem with Valence was that “the . . . data

  was terrible, their reporting was terrible and nonexistent.” Confirming the other CWs’ accounts,

  CW 5 explained that Valence was not built to handle the number and variety of claims that



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  Passport was reimbursing because Valence was a dental claims processing system, not a

  Medicaid medical claims processing system. Because it was a dental claims system, CW 5

  continued, Valence was not configured to handle multiple providers, which led to significant

  numbers of rejected claims because the claims could not be matched up with the provider. CW 5

  explained that “the system could not match a claim with the provider/member that generated the

  claim,” adding that this was “a systemic issue” that “still exists today . . . . Their provider system

  has never worked and is still not fixed.”

         94.     Stunningly, CW 5 further revealed that initially, Passport was not aware that

  Valence was a dental claims processing system. Instead, Evolent pitched Valence as a medical

  claims processing system, and it was not until a Passport employee accidentally found a tooth

  chart in the system—which would have been unnecessary in a medical claims system—that

  Evolent admitted that Valence was designed for dental claims instead of medical claims. CW 5

  recalled at that point, that “Evolent admitted that it was a dental system and that it was

  underpowered. They weren’t very forthcoming but once we stumbled upon things, they admitted

  it.”

         95.     CW 5 stated that “everyone” was aware of Valence’s significant flaws and faulty

  implementation. Indeed, these problems were repeatedly discussed at length during multiple

  meetings and progress calls in which Evolent’s most senior executives—including Defendant

  Williams—directly participated.

         96.     Specifically, CW 5 recalled that Defendant Williams participated in “relationship

  calls” between Evolent and Passport, during which the Valence implementation problems were

  repeatedly discussed. CW 5 stated bluntly that Defendant Williams “absolutely” knew that there

  were multiple issues with Valence—including that it was not designed for Medicaid claims and




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  that there were issues with reporting data—because “every relationship meeting that we had that

  came up. Someone always barked about them.” The Valence implementation was going so

  poorly, and adversely impacting the Evolent-Passport relationship so much, that CW 5 explained

  these calls sometimes took place on a weekly basis, and were scheduled whenever the

  relationship between Evolent and Passport needed to be fixed.

         97.      In addition to the relationship calls, Defendant Williams and Evolent Chief

  Technology Officer Chad Pomeroy took part in meetings with CW 5 and Passport COO Carl

  Felix. CW 5 explained that during these meetings they got into very technical details about why

  Valence was not working, recalling that “Valence issues came up all of the time with the CEO

  and CTO. We were very explicit with them.” In response, however, CW 5 stated that “we were

  told that they were going to look into it, and I can honestly say that pretty much nothing got

  addressed.”

         98.      CW 5 also stated that there was a meeting known as a “realignment call” that took

  place each year during the Class Period at Passport’s headquarters in Kentucky. CW 5 explained

  that the primary purpose of this meeting was to focus on the implementation and issues with

  Valence.     CW 5 recalled that during the Class Period all of Evolent’s executives flew to

  Passport’s headquarters in Kentucky to “basically say that they were sorry and were going to fix

  [Valence],” but it was never fixed.

         99.      In addition to Defendant Williams, CW 5 met directly with Evolent’s most senior

  executives regarding the Valence implementation problems, specifically recalling that “we had

  call[s] all the time up and down the executive team at Evolent.” This included several progress

  meetings with Tom Peterson, Evolent’s Chief Operating Officer and one of its co-founders,

  during which they discussed the progress of the implementation, as well as meetings that took




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  place “all the time” between CW 5 and Chad Pomeroy, Evolent’s Chief Technology Officer. CW

  5 further explained that there were weekly progress calls during the time period that Valence was

  being implemented. Moreover, depending on the stage of the implementation, CW 5 explained

  that there were additional meetings known as red light/green light calls. CW 5 participated in

  many of these meetings with the executive teams from Evolent and Passport, and specifically

  noted that Evolent’s C-Suite executives were on these progress calls “all of the time.”

                        The Deficiency Letters Documenting Hundreds of Millions of Dollars
                        of Fines Kentucky Imposed on Passport “Absolutely Were” Sent to
                        Evolent Executives

         100.    CW 5 confirmed that Kentucky assessed massive penalties on Passport through a

  series of monthly deficiency letters due to the incomplete, incorrect, or untimely encounter data

  that Passport submitted to the Commonwealth. Significantly, in addition to being sent to senior

  Passport officials, CW 5 revealed that the deficiency letters “absolutely were” sent to Evolent

  executives, explaining that “there were talks on who was going to foot the bill. Evolent agreed

  to foot the bill for a certain time period.” Indeed, Evolent’s agreement to pay these penalties

  further confirms that Evolent was responsible for Valence’s flaws and failed to properly

  implement the platform at Passport.

         101.    When questioned about the amount of fines that Kentucky imposed as a result of

  Valence, CW 5 laughed, stating that the “fines went through the roof,” and added that the fines

  were so high it became “comical” and as a result, she lost count. CW 5 contrasted these

  astronomical fines incurred because of Valence with the de minimis penalties that were assessed

  prior to the Valence implementation. CW 5 explained that with AmeriHealth, the fines were in

  the range of tens of thousands of dollars at most, and nowhere near the amount of fines Passport

  received using Valence.




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         102.   CW 5 recalled that the Valence penalties were discussed at bi-weekly meetings of

  the Joint Operating Committee (“JOC”) between Evolent and Passport. CW 5 explained that

  Evolent executives flew to Passport’s headquarters to attend these meetings, adding that “the

  penalties were discussed, and they got into the details of the failures between the companies.”

  Once the JOC identified deficiencies, CW 5 stated that another meeting group known as the

  “War Room” was tasked with trying to tackle those deficiencies, thus corroborating the account

  of CW 3.

         103.   The JOC meetings, however, were ultimately ineffectual. CW 5 described the

  high levels of stress and frustration at Passport, because Passport employees knew what was

  broken but were powerless to fix it. She explained that Passport was not allowed to do anything

  to Evolent’s systems, adding that “Evolent didn’t want Passport to see behind the curtain.” CW 5

  went on to describe that despite Passport discussing the Valence issues with Evolent, Passport

  would never get the resources or commitments from Evolent to fix the issues, because Evolent

  placed it on the backburner, adding that “they came in and implemented [Valence], but they were

  never good at the maintenance or upkeep, even today.”

                        Passport’s Financial Problems Were “100%” Due to Valence’s
                        Inability to Accurately and Timely Process Claims

         104.   CW 5 stated that Passport’s financial problems, which began in 2018, were

  “100%” due to Valence's inability to accurately report encounter data. CW 5 explained that

  Valence was used to process claims, and that Valence in turn fed the claims data to another

  system called Edifecs Encounter Management, which generated the encounter data that was

  submitted to Kentucky. CW 5 stated that when a claim was entered into Valence it was either

  accepted, denied, or noted as pending. However, because Valence was a dental claims platform

  intended to process bundled claims—not a Medicaid medical claims platform designed to handle



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  multiple providers with individual claims—Valence would reject claims not because the claims

  were inherently deficient, but because the claim could not be matched up to the healthcare

  providers. CW 5 explained that while Passport “had to pay the providers,” because those claims

  were never run through Edifecs, “there were no encounters created for any of those

  payments." In addition, CW 5 explained that when a claim was miscoded, Valence did not list

  the claim as either denied or pending, and as a result the claim simply sat in the system, again

  resulting in no encounter data ever being generated despite Passport being obligated to pay the

  healthcare providers. Consequently, CW 5 recalled that Passport paid millions of dollars to

  providers that was not reimbursed by Kentucky.

         105.    CW 5 further explained that, as a result of the problems submitting encounter

  data, it appeared to Kentucky that Passport paid out significantly less than it actually did, which

  negatively impacted Passport's rates because those rates were directly calculated from Passport’s

  encounter data submissions. As CW 5 stated, “[Kentucky] looked at the claims we were paying

  and said that Passport was making too much money and therefore cut our rates.” Indeed, CW 5

  confirmed that Evolent knew that Valence’s inability to accurately and timely process claims

  needed to generate encounter data was the cause of the rate cuts, and that Evolent had access to

  all of Passport’s data, claims, and payments. CW 5 recalled that in October 2018, the financial

  situation at Passport “hit critical,” and Evolent went on damage control. CW 5 added that by

  November 2018, she was taking part in “we are in trouble and not going to make it

  conversations,” in which Evolent was also “heavily” involved, explaining that “Evolent was

  definitely involved in the conversations on how we were going to fix this.”




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                          Passport Was Evolent’s “Cash Cow”: CW 5 Confirms that Evolent
                          Did Not Reduce Passport’s Costs or Expenses

          106.     CW 5 confirmed that, contrary to the entire purpose undergirding Evolent’s

  existence, Evolent did not reduce Passport’s costs. CW 5 bluntly stated that she could “100%

  corroborate” that Evolent’s highly touted technical solutions were nothing more than “snake oil,”

  explaining “from a tech perspective, they were so backward. They sold snake oil, stuff that

  didn’t exist.”

          107.     Indeed, Evolent dramatically increased Passport’s costs, which CW 5 confirmed

  drastically rose after Evolent rebadged roughly 350 of its employees due to the increased fees

  that Passport paid Evolent for those employees. CW 5 recalled that in the first year after Evolent

  rebadged roughly 350 Passport employees, Passport paid between $30 and $40 million to

  Evolent in service fees for services rendered by Passport’s former employees, which then

  dramatically increased in the following years.        CW 5 further explained that after Evolent

  rebadged those employees, it kept those rebadged employees on Passport’s IT system and

  equipment, and then charged Passport for supporting those employees.             CW 5 stated that

  Passport spent roughly $10 million per year on IT-related costs, making Passport’s IT the “cash

  cow for Evolent.”

          108.     CW 5 also recalled that she took part in several projects that Evolent had Passport

  undertake, bluntly stating that “I don’t think that a single one actually succeeded,” and adding

  that Evolent “never followed through . . . . Evolent came in and absorbed as much as they could

  out of Passport and they never delivered on really much.” Significantly, Evolent knew that these

  projects were not saving Passport money. CW 5 explained that Passport Chief Operating Officer

  Carl Felix would share any “prickly” conversation he had about Evolent with her, and recounted

  how Felix started many conversations with Evolent’s then-National Medicaid President Scott



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  Bowers about how Passport was losing money using Evolent, but that Bowers would squelch

  those conversations. CW 5 added that Felix also worked closely with Evolent Chief Operating

  Officer Tom Peterson, which led to a “running joke” in which Felix told CW 5 that “we got

  another commitment from Evolent that they will not deliver on.”

         109.    One of the largest projects involved Evolent transitioning Passport to a new

  pharmacy benefit manager (“PBM”).5 At the time that Passport partnered with Evolent, it was

  using a PBM named Navitus. To purportedly save costs, however, Evolent moved Passport into

  a new PBM agreement with CVS. However, according to CW 5 the switch to CVS did exactly

  the opposite of what Evolent promised it would do and dramatically increased Passport’s PBM

  costs. As CW5 explained, “to this day [Evolent’s PBM change] has cost us more than what

  Navitus charged us.”

         110.    Significantly, Passport’s drastically increasing costs were attributable solely to

  Evolent. CW 5 stated that it was “not at all accurate” to say that Passport’s increasing costs were

  due to changes in membership profiles (i.e., new patients with higher risks and that require more

  medical treatment), because membership profiles did not materially change. She described

  Passport’s membership as high-addiction and low-birthweight, and explained that “it’s not like

  the population got healthier or sicker. We don’t rotate out members. There is a 1-5% fluctuation

  of changing membership a year. We are going to get the same ratios as everyone else.”




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    A PBM is a third-party administrator of prescription drug programs that are primarily
  responsible for developing and maintaining prescription drug formularies, contracting with
  pharmacies, negotiating discounts and rebates with drug manufacturers, and processing and
  paying prescription drug claims. PBMs are supposed to work to maintain or reduce the
  pharmacy expenditures of a health plan while simultaneously trying to improve health care
  outcomes.


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         E.         The Truth Begins to Emerge

                           Evolent Falsely Pins the Blame for Passport’s Financial Troubles on
                           the 2018 Rate Cuts, Without Revealing That Its Own Practices
                           Caused the Rate Cuts

         111.       Evolent's fraudulent practices plunged Passport into financial jeopardy, when in

  November 2018, Kentucky reduced the Medicaid capitation payments that covered the majority

  of Passport’s members by roughly 4.1%, meaning that Passport’s revenue would decline by

  approximately 3.2%.         Passport appealed these Medicaid rate cuts with the state, and,

  consequently, beginning in January 2019, while that appeal was pending, reports began to

  emerge in local Kentucky news outlets that Passport was in financial distress, ostensibly due

  solely to Kentucky’s Medicaid rate cuts.

         112.       On January 25, 2019, Insider Louisville published an article titled “Passport’s

  Finances Being Dragged Down by $220M in ‘Management Fees’ to Evolent Health,” which

  reported on Passport’s financial woes and discussed that—setting aside the 2018 rate cuts—

  Evolent’s exorbitant fees were dramatically worsening Passport’s financial situation.          The

  Insider Louisville article explained that “declining reimbursement rates to Passport tell just part

  of the story,” that “Passport’s money problems also are a result of overspending,” and that “[t]he

  big culprit that is pushing up expenses: non-employee management fees”—more specifically,

  Evolent’s fees:

         In the last three years, Passport paid the publicly traded Evolent Health some
         $220 million in non-employee management fees, accounting for the vast majority
         of dollars it did not spend on its clients’ medical care and increasingly dwarfing
         its administrative overhead.

        113.        The Insider Louisville article emphasized that, over the course of 2016 and 2017

  (the first two years Evolent provided services to Passport), “expenses rose at a faster pace than

  revenue.” Specifically, while Passport’s revenue grew 9.4% per year, its non-employee



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  management fees (which were mostly paid to Evolent) rose by 68% annually. Significantly,

  however, Defendants flatly denied that their fees were excessive or improper. Instead,

  Defendants claimed that Evolent’s high fees were solely the result of taking over services

  Passport once provided, falsely claiming that Evolent was providing services “at cost” and even

  “at a lower per member cost than prior periods.” As the Insider Louisville article stated:

         Evolent told Insider via email that the ‘majority of the fees Passport pays to
         Evolent are directly tied to local staff — at cost — as well as (insurance claims
         processing) and pharmacy benefit services at a lower per member cost than prior
         periods.’ The company said it has ‘hundreds of employees supporting Passport’
         and that ‘the number of employees has increased in line with the increases in
         scope of our partnership with Passport’ and that ‘the number of our employees in
         Louisville exceeds our original projection.’

         114.    In a further attempt to counter Insider Louisville’s claims, Evolent dispatched

  Passport’s CEO, Mark Carter, to reassure investors that the article was incorrect, and that

  Passport had actually benefitted from its arrangement with Evolent. In a January 31, 2019

  research note on Evolent titled, “Passport is a Happy Client, Despite Local Media Reports,”

  Piper Jaffray reported that it had “caught up with Mark Carter, CEO of Passport Health,” who

  assured the analyst that “[w]hile Passport is wrangling with regulators over capitation rates, the

  issue is not tied to the [Evolent] relationship.”

                         Passport Sues Kentucky Over the Rate Cuts, and Evolent Repeatedly
                         and Emphatically Denies That It Would Need to Acquire Passport

         115.    On February 15, 2019, Passport filed a lawsuit against Kentucky’s Finance and

  Administration Cabinet and its Cabinet for Health and Family Services (“CHFS”) (the “Passport

  Complaint”), challenging the Medicaid rate cuts that Passport learned of in May 2018. In that

  lawsuit, Passport alleged that, if the rate cuts were not reversed, Passport would be legally

  insolvent by March 1, 2019. Passport further alleged that it had recorded a loss of $65.5 million

  for year-end 2018 and projected an additional $75 million in losses for the first half of 2019



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  alone—ostensibly solely as a result of the Medicaid rate cuts. As a result of these losses,

  Passport explained that it would fall below the statutory minimum capital needed to remain

  solvent by law as soon as March 1, 2019—a mere two weeks later—and risked losing its

  Medicaid contract with Kentucky, the basis of its entire business and existence. On February 19,

  2019, the first trading day following Passport’s lawsuit, Evolent’s stock price fell 10.8%, to close

  at $14.99 (from a closing price of $16.80 on the previous trading day) on unusually high volume.

         116.    The revelations in the Passport Complaint raised significant concerns among

  investors and analysts about the impact of a potential Passport bankruptcy on Evolent’s revenue

  stream—and whether Evolent would have to bail out Passport given that it constituted

  approximately 20% of Evolent’s revenue. Accordingly, during an investor conference call on

  February 26, 2019, analysts peppered Evolent’s management with questions about Passport’s

  dire financial condition and its potential effects on Evolent.       In particular, analysts were

  concerned that Evolent might have to bail out or purchase Passport, in what would obviously be

  a transaction that was detrimental to Evolent’s financial condition.        Significantly, Evolent

  management outright dismissed these concerns. Defendant Williams represented that Evolent

  does “not focus[] on outright majority ownership in health plans” and told analysts, “there’s no

  big change in strategy based on what we see happening with Passport specifically.”

         117.    Analysts continued to push Williams on the insolvency risks that Passport posed

  to Evolent, again focusing on its importance to Evolent’s bottom line. A Citigroup analyst asked

  Williams outright: “On the Passport side, is there any balance sheet risk if they were to go

  insolvent? Or put another way, have your joint investment efforts of Passport given you any

  exposure in a tail event”? Williams responded unequivocally that “No. No, we don’t have any

  broader exposure.” When analysts specifically asked if Evolent was even considering acquiring




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  Passport, Defendant Williams emphatically rejected that possibility, stating that Evolent had not

  even “thought about” acquiring Passport, that such an acquisition was “not in our strategic lens at

  this point,” and that a Passport bailout was “not something that is currently being evaluated.”

         118.    By Spring 2019, Passport’s financial picture appeared to have improved. First, in

  March 2019, Passport announced that it had undertaken cost-cutting measures to shore up its

  finances.   Second, on April 10, 2019, Kentucky announced that it was reversing its prior

  Medicaid cuts and thus increasing the reimbursement rate affecting Passport. Analysts covering

  Evolent were buoyed by the news. Cantor Fitzgerald, for example, opined that the newly

  increased rates “lift[ed] an overhang on EVH shares,” and SunTrust wrote that “elevated

  payments to Passport decrease[] risk EVH loses its largest customer,” and that “the elevated

  rates, in addition to Passport’s cost cuts in March, give us confidence EVH’s guidance for

  contribution from Passport should remain intact for this year.”

         119.    Indeed, as late as May 7, 2019, during its earnings call for the first quarter of

  2019, Evolent management assured investors that “Passport is making solid progress towards

  improving its financial performance.” Again, the market was reassured. JPMorgan maintained

  its $15 price target, commenting that Passport was “on more steady footing,” that the “recent

  Kentucky rate increase [was] a step in the right direction for the stability of [Evolent’s] partner

  Passport Health,” and that Evolent “is partnering with [Passport] to drive improvement

  operations to insulate the plan from potential rate volatility in the future.”

                 Evolent Shocks the Market by Announcing That it Will Bail Out Passport by
                 Acquiring a 70% Stake in the Plan

         120.    Before the market opened on May 29, 2019, Evolent stunned investors by

  abruptly and suddenly reversing course. On that day, the Company issued a press release

  announcing that, notwithstanding its prior assurances, it had agreed to acquire a majority stake in



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  Passport, paying $70 million in exchange for its 70% interest, and further agreed to provide

  additional “interim balance sheet support”—that is, to pay in additional capital—if such support

  became necessary for Passport to meet its statutory capital requirements.              Evolent’s

  announcement was an admission that—contrary to Defendants’ recent assurances—Passport’s

  financial condition was far worse than had been previously known, and that Passport could not

  have survived as an independent entity. Moreover, the announcement was an admission that it

  was not the 2018 rate cuts—which had already been rescinded—that were the cause of

  Passport’s downfall, but rather the catastrophic financial harm imposed on Passport by Evolent’s

  excessive fees and deficient claims administration processes.

         121.    Also prior to the market opening on May 29, Evolent held a special investor call

  to discuss its acquisition of a majority stake in Passport. During the call, Defendant Williams

  initially attempted to downplay the idea that Evolent’s stake amounted to an urgently needed

  bailout, painting the transaction as an “opportunity” for Evolent.      However, with analysts

  questioning why there was “still the need to make this investment to become basically a 70%

  owner,” Williams was forced to admit that Evolent had had no choice but to buy Passport to

  protect the 20% of Evolent’s revenue stream that Passport contributed: “[w]hen you get a rate

  cut and you suffer substantial losses and those losses carry for several months, then you develop

  a sense of urgency that we need to respond with speed, we need to respond

  comprehensively…given the financial situation, we need[ed] to respond immediately.”

         122.    In response to the news of Evolent’s massive and cash-draining emergency

  bailout of its largest and most important customer, Evolent’s stock price fell a staggering

  29.3%—or $4.14 per share—on May 29, 2019, to close at $10.01 (from the previous trading

  day’s closing price of $14.15).




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            123.   Analysts excoriated Evolent management for their lack of candor about the

  likelihood of bailing out Passport. SunTrust noted that “[m]anagement has previously talked

  down going after Passport as recently as 4Q18 earnings call: When asked whether EVH would

  acquire some, if not the whole, Passport business during the 4Q18 earnings call, management

  cited they had ‘not contemplated acquiring a full Medicaid plan,’ that it’s ‘not in our strategic

  lens at this point.’” SunTrust further emphasized that “this transaction signals that Passport

  wasn’t in a position to remain operationally sustainable as a standalone entity, which suggests to

  us that EVH’s investment and balance sheet commitment is likely instrumental in supporting the

  business.” Citigroup worried that the deal raised “concerns that EVH had to pay to maintain its

  customer base.”

            124.   Analyst and investor reaction to Evolent’s bailout of Passport was so severe that

  Evolent was forced to address the situation yet again during another investor call the very next

  day, on May 30, 2019. During the call, Defendant Williams again admitted that Evolent was

  effectively forced to buy out Passport: “a lot of people say, ‘Boy, I wish you weren’t in this

  situation, because ideally, we’d love you not to be – have – be investing alongside your clients in

  this way in this particular situation’ and we agree. But that’s not the situation that was presented

  to us.”

            125.   Strikingly, Evolent management also admitted that it had known of the risk it

  would have to bail out Passport no later than January 2019. As the Company’s COO and co-

  founder Thomas Peterson stated, “despite having this really strong profound belief in the mission

  of Passport and the potential for Passport, the sponsors [of Passport] really felt as though they

  needed to take on a partner. And so . . . starting in January, once the writing kind of became on

  the wall around the real impact of the rates and the fact that there was not likely to be retroactive




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  rate relief, there was [an] additional level of urgency that was placed on this . . . .” Indeed, he

  admitted, the situation had become so severe that “in January what we did was we effectively

  created a shadow management team [at Passport]. So we had our own – we brought in our own

  CMO, our own CEO, our own COO, a Chief Actuary, Head of Network Contracting, and we

  were shoulder to shoulder with Passport leadership.”

         F.      Subsequent Events Confirm Defendants’ Fraud

         126.    Evolent’s forced acquisition of a 70% stake in Passport could not have come at a

  more inopportune time for Passport, as the Plans’ contract with the Commonwealth to provide

  Medicaid services to Kentucky residents was set to end in July 2020.             Thus, Kentucky

  announced that in May 2019, the Commonwealth would be issuing a request for Medicaid

  proposals (the “RFP”) to award Medicaid contracts. Passport submitted its RFP proposal to

  Kentucky in July 2019.

         127.    On November 26, 2019, Kentucky announced its decision on new Medicaid

  contracts awarded stemming from the RFP. Five MCOs were awarded Medicaid contracts under

  the RFP, and Passport was not one of them, meaning that Passport had now lost its long-standing

  Medicaid contract, the basis of virtually its entire business.

         128.    As the Courier-Journal reported on the morning of November 27, 2019, in an

  article titled “Bevin administration leaves out Passport in awarding $8B in Medicaid contracts”:

         In a blow to Louisville’s Passport Health Plan, Gov. Matt Bevin’s administration
         has notified five other health insurance companies they have won contracts to
         manage around $8 billion a year in Kentucky’s Medicaid business — cutting
         Passport out of the work it’s had for more than 20 years.

                                                  ***

         The five-year contracts take effect July 1[, 2020].

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         The loss of the new contract could put Passport out of business because its main
         revenue comes from managing health care for Kentucky Medicaid enrollees, a
         population it was founded to serve in 1997 as a nonprofit.

                                               ***

         Passport’s loss of the Medicaid contract also is a blow to Evolent Health, a
         Virginia-based health management company that announced plans to buy
         Passport in May for $70 million, a transaction expected to close by the end of this
         year.

         129.   On this news, Evolent’s stock price fell 27%, from a close of $10.68 on

  November 26, 2019, to a close of $7.76 on November 27, 2019.

         130.   Documents obtained from Kentucky that quantify all applicants’ responses to the

  RFP confirm that Passport lost its Medicaid contract with Kentucky because it was unable to

  establish that it could provide Medicaid services “in a cost-effective manner”—the precise

  reason Evolent was supposedly hired. Indeed, of the seven applicants, Passport received by far

  the lowest numerical score, both overall and in many of the individually scored categories,

  including areas in which Evolent had promised improvements. To score the responses, Kentucky

  assembled a “Scorecard” with comments that listed and described the reasons why Passport’s

  contract was not renewed. For example, the Scorecard noted that Passport “took a substantial net

  loss of $125 million in 2018”—a loss which was directly attributable to Evolent’s debilitating

  fees and deficient claims processing platform. Moreover, despite the critical importance of

  encounter data, Passport failed to provide any “formal policy” regarding encounter data

  processing—the very area of data collection that Evolent had botched so badly at Passport as to

  financially imperil the Plan. But the most damning reason of all was Kentucky’s conclusion that

  Passport “did not address in detail” how “whole-person integrated care, population health, and

  overall [healthcare] improvement outcomes” would be “accomplished in a cost-effective

  manner.”



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         131.    Piper Jaffray issued an analyst report commenting on the RFP scoring, opining

  that it was “highly unlikely” Passport could successfully appeal the results, noting that

  “[Evolent] was repeatedly penalized for the rfp response not including enough detail on how they

  would address various initiatives, training, and incentives” and noting that Evolent “also scored

  lowest compared to peers on experience judged by breadth of [Medicaid] contracts held.”

         132.    On December 23, 2019, new Kentucky Governor Andy Beshear announced that

  there would be a rebidding process for providers to bid for contracts to provide Medicaid

  services in Kentucky. He warned, however, that “[n]o one is guaranteed a contract,” and did not

  give any specific indication that Passport was likely to win a new contract in the rebidding

  process. As of the filing of this Complaint, Kentucky’s Medicaid contract awards were still

  undecided.

         133.    The heavy financial burden of being forced to bail out Passport after driving it to

  the brink of bankruptcy continued to weigh Evolent down throughout 2019 and into 2020. On

  February 25, 2020, Evolent filed a Form 8-K announcing its financial results for 4Q and FY

  2019, which revealed that Evolent was taking a $199.8 million goodwill impairment charge. The

  reason for this massive impairment charge became clear when the Company filed its 2019 Form

  10-K on March 3, 2020. In it, Evolent disclosed that it was forced to reassess its goodwill

  accounting in light of the Company’s “significant[]” share price decline “[d]uring the second half

  of 2019”—the precise time period immediately following Evolent’s announcement that it was

  bailing out Passport and encompassing the long period of uncertainty whether Passport would be

  awarded a Medicaid services contract by Kentucky.

  VI.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

         134.    Defendants made false and misleading statements and material omissions during

  the Class Period in violation of Sections 10(b) and 20(a) of the Exchange Act, and Rule 10b-5


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  promulgated thereunder.      Throughout the Class Period, Evolent’s press releases, investor

  presentations, and public filings made with the SEC included material misstatements and/or

  omissions concerning the Company’s business and operational practices and its dealings with

  Passport.

          135.     Defendants’ material misstatements and omissions thus created in the market an

  unrealistically positive assessment of Evolent’s business, operational status, profitability, and

  future growth prospects, all of which artificially inflated the price of Evolent’s common stock.

          A.       Evolent’s 2016 Form 10-K

          136.     On the first day of the Class Period, March 3, 2017, Evolent filed its Form 10-K

  for the year ended December 31, 2016 (the “2016 Form 10-K”). The 2016 Form 10-K explained

  that the Company was founded for the sole purpose of enabling its partners to cut “total cost[s],”

  a necessary requirement for these partners to maintain profitability while transitioning to value-

  based care. Specifically, Evolent claimed: “The solution we offer our target market contemplates

  one strategic option – to pursue clinical and technological integration to reduce utilization and

  total cost[.]”

          137.     In the 2016 Form 10-K, Evolent repeatedly emphasized that the Company’s suite

  of services benefited health plan systems like Passport “[b]y helping these systems lower clinical

  and administrative costs” and “capture greater market share.” Specifically, Evolent represented:

          The partnership model enables cultural alignment, integration into the provider
          care delivery and payment work flow, long-term contractual relationships and a
          cycle of clinical and cost improvement with shared financial benefit.

          We have sought to partner with leading providers in sizable markets, which we
          believe creates a growth cycle that benefits from the secular transition to value-
          based care. By helping these systems lower clinical and administrative costs, we
          believe we are positioning them to offer a low cost, effective care setting to
          payers, employers and consumers, which enables them to capture greater market
          share. As providers have succeeded in lowering costs and growing market share,



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         this enables them to increase their value-based offerings. By virtue of our
         business model, we benefit from our partners’ growth.

         138.    The statements in paragraphs 136 and 137 were materially false and misleading.

  Evolent’s services did not help what was by far its most significant partner, Passport, lower

  clinical and administrative costs; in fact, they did just the opposite. Indeed, in 2016, Evolent

  charged Passport $55.5 million in fees, accounting for nearly all of Passport’s $62 million

  increase in administrative expenses from the prior year—a roughly 57% cost increase in a single

  year. As CW 1—who was deeply involved in Passport’s finances, as a high-ranking member of

  its audit department and direct report of Passport’s CFO—put it, “[Evolent] said they could cut

  costs by providing services; they did the opposite.” Moreover, with respect to the rebadging of

  over two-thirds of Passport’s employees, CW 1 confirmed that Passport ended up paying Evolent

  “more than we had been paying for the salaries of the people that did the work Evolent was

  [now] doing. . . . The admin expense was more than we were paying for those salaries. That’s all

  Evolent.” In other words, she said, Passport was merely “paying [Evolent] to do that stuff that

  we used to do, and we were paying them more.” When asked if Evolent ended up saving

  Passport money, CW 5 laughed and replied, “absolutely not,” adding “they took 350 of our

  employees, crippled our business and then charged us for services that weren’t rendered.

  Everything that was done was either more expensive or cost us more money.” Indeed, rather

  than reducing Passport’s “total cost,” during the first year Evolent provided services to Passport,

  Evolent’s “solution” caused Passport to swing from a net underwriting gain of $33.3 million in

  2015 to a net underwriting loss of $80.4 million in 2016.




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         B.      Evolent’s 1Q 2017 Investor Call and Form 10-Q

         139.    On May 9, 2017, the Company conducted an investor conference call to discuss

  its financial results for the first quarter ended March 31, 2017. The next day, May 10, 2017,

  Evolent filed its Form 10-Q reporting financial results for the quarter.

         140.    During the call, Williams boasted that Evolent’s services had “drive[n] greater

  efficiency” for Passport, stating:

         In terms of growth to our existing partners, I am also excited about our work
         across the last year at Passport Health Plan in Kentucky. Passport is a nationally
         recognized organization in Medicaid and we’ve been able to leverage its
         experience and strong provider network in combination with the Evolent platform
         to drive greater efficiency and to improve quality of care across the [Plan’s] large
         and diverse population.

         141.    Similarly, in the Form 10-Q, Evolent described its suite of tech-based services and

  claimed they enabled health plan partners like Passport to operate “in a more cost-effective

  manner.” Specifically, Evolent represented:

         The Company’s services include providing our customers, who we refer to as
         partners, with a population management platform, integrated data and analytics
         capabilities, pharmacy benefit management (‘PBM’) services and comprehensive
         health plan administration services. Together these services enable health systems
         to manage patient health in a more cost-effective manner.

         142.    The statements in paragraphs 140 and 141 were materially false and misleading.

  Evolent’s services did not help “drive greater efficiency” for Passport or help it operate “in a

  more cost-effective manner”; in fact, they did just the opposite. In reality, as set forth above,

  Evolent repeatedly sought to increase the large and reoccurring revenue stream the Company

  generated from its partnership with Passport by charging Passport huge amounts for performing

  the same work Passport used to conduct in-house, and driving up administrative costs with no

  commensurate financial benefit for Passport. Indeed, as CW 1 put it, “[Evolent] said they could




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  cut costs by providing services; they did the opposite.” CW 5 confirmed that “[e]verything that

  was done was either more expensive or cost us more money.”

         143.    During the May 9, 2017 investor call, Williams also insisted that Evolent’s

  integration of its new Valence claims processing platform into its other services had “gone

  incredibly well,” and that Evolent was “feeling greater stability in operations, like we have the

  ability to scale.” With regard to Passport, Williams boasted that “that’s going to be another

  300,000 lives on the platform, and our commitment was to get that absolutely right in terms of

  serving clients at a high standard from the outset.”

         144.    The statements in paragraph 143 were materially false and misleading. In fact,

  Defendants knew well before the scheduled October 1, 2017 go-live date that the integration

  process was not going “incredibly well” and Valence was unable and unequipped to handle

  processing claims “at a high standard from the outset” for Passport. For instance, as CW 5

  explained, Defendants—including Defendant Williams—were well-aware that Valence had been

  designed to process group dental claims, not individual medical claims, because Williams

  participated in “relationship calls” during which “[s]omeone always barked about” Valence

  problems, and because CW 5 was “very explicit with” Williams during meetings in which they

  discussed very technical details about why Valence was not working. CW 3 further explained

  that a platform built to process dental claims was “not advanced enough” to support processing

  Passport’s individual medical claims data. Moreover, CW 2 said she made it known to Evolent

  management on “a number of occasions” that the system was not ready or adequate to handle

  Passport’s medical claims processing, and emphasized that “it wasn’t just me” telling

  management of the problems. In fact, she said, “[p]retty much everyone from Passport was




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  telling them” the transition would not go smoothly. Other CWs corroborated this account, with

  CW 4 explaining that it was clear at the outset that “the system wasn’t ready.”

         C.      Evolent’s May 11, 2017 Investor and Analyst Day Conference

         145.    On May 11, 2017, Evolent held its second annual Investor and Analyst Day.

  During the conference, Defendants extensively discussed the Passport partnership, Evolent’s

  acquisition of Valence and Aldera, and the plan to migrate Passport to Evolent’s new Valence

  claims processing system on October 1, 2017. For instance, Defendant Wigginton, an Evolent

  employee since 2012 who was appointed CEO of Valence after Valence was acquired by Evolent

  in October 2016, insisted that the “integration process with the Valence health team has

  proceeded at or above our expectations” and that Evolent was “really creating a seamless, highly

  integrated infrastructure” by combining Valence’s services with the Company’s other service

  offerings.

         146.    During this conference, Evolent’s then-National Medicaid COO, Defendant

  Spencer (who had been Passport’s COO until she moved to Evolent in February 2016), also

  represented that Passport had done “a lot of due diligence” on Valence and had “made sure that

  everything was working the way that we want it to” before deciding to transition to Valence.

         147.    The statements in paragraphs 145 and 146 were materially false and misleading.

  Defendants knew well before the scheduled October 1, 2017 go-live date that the integration of

  Valence and the Company’s other service offerings would not create a “seamless, highly

  integrated infrastructure” and, consequently, that the integration was not “proceeding at or above

  expectations” with respect to Passport. For instance, as CW 5 explained, Defendants—including

  Defendant Williams—were well-aware that Valence had been designed to process group dental

  claims, not individual medical claims, because Williams participated in “relationship calls”

  during which “[s]omeone always barked about” Valence problems, and because CW 5 was “very


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  explicit with” Williams during meetings in which they discussed very technical details about

  why Valence was not working. CW 3 further explained that a platform built to process dental

  claims was “not advanced enough” to support processing Passport’s individual medical claim

  data. Moreover, CW 2 said she made it known to Evolent management on “a number of

  occasions” that the system was not ready or adequate to handle Passport’s medical claims

  processing, and emphasized that “it wasn’t just me,” telling management of the problems. In

  fact, she said, “[p]retty much everyone from Passport was telling them” the transition would not

  go smoothly. Other CWs corroborated this account, with CW 4 explaining that it was clear at the

  outset that “the system wasn’t ready.”

         D.      Evolent’s 2Q 2017 Form 10-Q

         148.    On August 7, 2017, Evolent filed its Form 10-Q reporting financial results for the

  second quarter ended June 30, 2017.

         149.    In the Form 10-Q, Evolent described its suite of tech-based services and claimed

  they enabled health plan partners like Passport to operate “in a more cost-effective manner.”

  Specifically, Evolent represented:

         The Company’s services include providing our customers, who we refer to as
         partners, with a population management platform, integrated data and analytics
         capabilities, pharmacy benefit management (‘PBM’) services and comprehensive
         health plan administration services. Together these services enable health systems
         to manage patient health in a more cost-effective manner.

         150.    The statements in paragraph 149 were materially false and misleading. In reality,

  Evolent repeatedly sought to increase the large and reoccurring revenue stream the Company

  generated from its partnership with Passport by charging Passport as much as possible for its

  services without providing any corresponding financial benefit to Passport.           Moreover,

  Evolent’s services did not help its most significant partner, Passport, operate “in a more cost-

  effective manner”; in fact, they did just the opposite. Indeed, in 2017, Evolent charged Passport


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  a whopping $88.2 million in fees—a 59% increase over the already exorbitant $55.5 million in

  fees it had charged Passport in 2016—contributing to yet another large increase in Passport’s

  overall expenses. CW 1 explained, “[Evolent] said they could cut costs by providing services;

  they did the opposite.” When asked if Evolent ended up saving Passport money, CW 5 laughed

  and replied, “absolutely not,” adding “they took 350 of our employees, crippled our business and

  then charged us for services that weren’t rendered. Everything that was done was either more

  expensive or cost us more money.”

         E.      Evolent’s 3Q 2017 Investor Call and Form 10-Q

         151.    On November 2, 2017, Evolent conducted an investor conference call to discuss

  its financial results for the third quarter ended September 30, 2017.        One week later, on

  November 9, 2017, Evolent filed its Form 10-Q reporting financial results for the quarter.

         152.    During the call, Williams again discussed Evolent’s relationship with Passport,

  boasting that Evolent “successfully launched Passport . . . onto our [Valence] platform,” and that

  Evolent “teams continue to monitor [Valence’s] operations closely and report a smooth

  transition.” Moreover, Williams insisted transitioning to Valence would “provide a differentiated

  and more efficient service” for the Plan and “create value for Passport unmatched by a traditional

  vendor client relationship”:

         As a reminder, we made this decision [to process claims for Passport using
         Valence] together for several reasons. First, we wanted to provide a higher level
         of service for Passport members and providers. By integrating our clinical and
         administrative platforms, we’ll be able to provide a differentiated and more
         efficient service for our members. Second, we recognize the opportunity to
         expand the depth of our strategic alliance, leveraging best practices from both
         entities to create value for Passport unmatched by a traditional vendor client
         relationship.

                                                ***

         To ensure a seamless transition for providers and plan members, teams continue
         to monitor operations closely and report a smooth transition. In the months since


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         go live, over 1.6 million enrolment transactions have been completed as we
         onboard more than 300,000 Passport Health Plan members across the quarter.

         153.    The statements in paragraph 152 were materially false and misleading. Although

  Passport had only begun using Valence to process claims one month before these statements

  were made, Defendants already knew that Evolent employees had not “report[ed] a smooth

  transition” and, consequently Valence would not “create value for Passport unmatched by a

  traditional vendor client relationship”; in fact, it would do just the opposite. For instance, as CW

  5 explained, Defendants—including Defendant Williams—were well-aware that Valence had

  been designed to process group dental claims, not individual medical claims, because Williams

  participated in “relationship calls” during which “[s]omeone always barked about” Valence

  problems, and because CW 5 was “very explicit with” Williams during meetings in which they

  discussed very technical details about why Valence was not working. As CW 4 confirmed,

  Evolent’s transition of Passport to its new Valence claims platform was “a disaster!” – not

  “successful[]” or “smooth.”     Indeed, as CW 3 explained, because Valence was “not built

  correctly” for processing individual medical claims, the system caused Passport’s claims to be

  incorrectly denied, delayed, and even under or overpaid.

         154.    Moreover, once Passport transitioned to Valence on October 1, 2017, Evolent did

  not “provide a higher level of service for Passport”; rather, Passport’s claims administration and

  processing capabilities deteriorated immediately. Documents Lead Plaintiffs obtained from the

  Commonwealth of Kentucky establish that Evolent’s Valence services were fundamentally

  flawed and consequently drove up costs for the Plan rather than decreasing them. For example,

  under Passport’s previous claims administrator, Passport was assessed de minimis penalties

  averaging just $33,000 per month. By contrast, in October 2017—the first month that Evolent

  handled Passport’s claims processing—Passport was assessed penalties of $619,625, an increase



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  of roughly 1,800%. These penalties continued to exponentially skyrocket as a result of Evolent’s

  utterly deficient claims processing, and, remarkably, over the subsequent year and a half,

  Passport was assessed nearly half a billion dollars in penalties. CW 5 explained that these

  deficiency notes “absolutely were” sent to Evolent’s executives because “Evolent agreed to foot

  the bill for a certain time period.” As CW 3 confirmed, Valence wreaked havoc at Passport for a

  period of “more than 15 months,” becoming so systemic that Evolent was forced to standup a

  daily “war room” to address the issue.

         155.    In the Form 10-Q, Evolent described its suite of tech-based services and claimed

  they enabled health plan partners like Passport to operate “in a more cost-effective manner.”

  Specifically, Evolent represented:

         The Company’s services include providing our customers, who we refer to as
         partners, with a population management platform, integrated data and analytics
         capabilities, pharmacy benefit management (‘PBM’) services and comprehensive
         health plan administration services. Together these services enable health systems
         to manage patient health in a more cost-effective manner.

         156.    The statements in paragraph 155 were materially false and misleading. Evolent’s

  services did not help its most significant partner, Passport, “operate in a more cost-effective

  manner”; in fact, they did just the opposite. As set forth above, Evolent repeatedly sought to

  increase the revenues it derived from Passport by charging Passport as much as possible for its

  services without providing any corresponding financial benefit to Passport, including for

  example, by “rebadging” employees and forcing Passport to use Evolent’s grossly deficient

  claims processing service. As CW 1 put it, “[Evolent] said they could cut costs by providing

  services; they did the opposite.” CW 5 confirmed that “[e]verything that was done was either

  more expensive or cost us more money.”

         F.      Evolent’s 4Q and Full Year 2017 Investor Call, and 2017 Form 10-K




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         157.     On February 27, 2018, Evolent held an investor conference call to discuss its

  financial results for the fourth quarter and year ended December 31, 2017. Two days later, on

  March 1, 2018, Evolent filed its Form 10-K for the year ended December 31, 2017 (“2017 Form

  10-K”).

         158.     During the call, Defendant Williams claimed that the integration of Evolent’s

  Valence claims processing platform into Evolent’s services for Passport was going “incredibly

  well” and was enabling the Company’s partners, including Passport, to “get to a higher level of

  performance”:

         The past year was also important in terms of integrating Valence into our broader
         health plan services offering and successfully scaling the organization with
         several large clients [including Passport] coming in across the year. While we still
         have work to do in fulfilling our long-term vision, the integration is going
         incredibly well and the Valence platform has enhanced our differentiation
         significantly in the marketplace.

                                                         ***

         Lastly, with the integration of Valence and Aldera into our health plan services
         platform, we’re seeing strong success providing services to existing and larger
         scale provider-owned health plans. The integration of the back-office claims and
         network management system . . . is highly differentiated in the market, and these
         organizations get to a higher level of performance in a more demanding market.

         159.     The statements in paragraph 158 were materially false and misleading.

  Defendants were well-aware by this time that the integration of Valence at Passport had not

  “go[ne] incredibly well.” In fact, nothing could be further from the truth. As CW 4 confirmed,

  Evolent’s transition of Passport to its Valence platform was, in fact, “a disaster!” For example,

  as CW 3 explained, because Valence was “not built correctly” for processing individual medical

  claims, the system caused Passport’s claims to be incorrectly denied, delayed, and even under or

  overpaid. Indeed, documents that Lead Plaintiffs obtained from the Commonwealth of Kentucky

  establish that Evolent’s Valence services were fundamentally flawed and consequently, Passport



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  incurred significantly higher claims processing costs while using Valence than it had before. For

  instance, under Passport’s previous claims administrator, Passport was assessed penalties

  averaging just $33,000 per month. By contrast, in October 2017—the first month that Evolent

  handled Passport’s claims processing—Passport was assessed penalties of $619,625, an increase

  of roughly 1,800%. These penalties continued to exponentially skyrocket as a result of Evolent’s

  utterly deficient claims processing, and, remarkably, over the subsequent year and a half,

  Passport was assessed nearly half a billion dollars in penalties. CW 5 explained that these

  deficiency notes “absolutely were” sent to Evolent’s executives because “Evolent agreed to foot

  the bill for a certain time period.” As CW 3 confirmed, Valence wreaked havoc at Passport for a

  period of “more than 15 months,” becoming so systemic that Evolent was forced to standup a

  daily “war room” to address these urgent issues.

         160.    In its 2017 Form 10-K, Evolent explained that the Company was founded for the

  sole purpose of enabling its partners to cut “total cost[s],” a necessary requirement for these

  partners to maintain profitability while transitioning to value-based care. Specifically, Evolent

  claimed: “The solution we offer our target market contemplates one strategic option – to pursue

  clinical and technological integration to reduce utilization and total cost[.]”

         161.    In the 2017 Form 10-K, Evolent also stated that the Company’s suite of services

  benefited health plan systems like Passport “[b]y helping these systems lower clinical and

  administrative costs” and “capture greater market share.” Specifically, Evolent represented that:

         The partnership model enables cultural alignment, integration into the provider
         care delivery and payment work flow, contractual relationships and a cycle of
         clinical and cost improvement with shared financial benefit.

         We have sought to partner with leading providers in sizable markets, which we
         believe creates a growth cycle that benefits from the secular transition to value-
         based care. By helping these systems lower clinical and administrative costs, we
         believe we are positioning them to offer a low cost, effective care setting to
         payers, employers and consumers, which enables them to capture greater market


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         share. As providers have succeeded in lowering costs and growing market share,
         this enables them to increase their value-based offerings. By virtue of our
         business model, we benefit from our partners’ growth.

         162.    The statements in paragraphs 160 and 161 were materially false and misleading.

  Evolent’s services did not help its most significant partner, Passport, lower clinical and

  administrative costs; in fact, they did just the opposite. Indeed, in 2017, Evolent charged

  Passport a whopping $88.2 million in fees—a 59% increase over the already exorbitant $55.5

  million in fees it had charged Passport in 2016—contributing to yet another large increase in

  Passport’s overall expenses. CW 1 explained that “[Evolent] said they could cut costs by

  providing services; they did the opposite.” CW 5 confirmed that “[e]verything that was done

  was either more expensive or cost us more money.” Finally, by this time, Evolent’s Valence

  platform was already causing rampant problems with Passport’s claims processing, including late

  payment of claims, underpayment of claims, overpayment of claims, incorrect processing of

  claims, and failure to properly submit encounter data to the state. Under Passport’s previous

  claims administrator, Passport was assessed penalties averaging just $33,000 per month. By

  contrast, in October 2017—the first month that Evolent handled Passport’s claims processing—

  Passport was assessed penalties of $619,625, an increase of roughly 1,800%. These penalties

  continued to exponentially skyrocket as a result of Evolent’s utterly deficient claims processing,

  and, remarkably, over the subsequent year and a half, Passport was assessed nearly half a billion

  dollars in penalties. CW 5 explained that letters documenting these penalties “absolutely were”

  sent to Evolent’s executives because “Evolent agreed to foot the bill for a certain time period.”

         G.      Evolent’s 1Q 2018 Investor Call and Form 10-Q

         163.    On May 9, 2018, Evolent conducted an investor conference call to discuss its

  financial results for the first quarter ended March 31, 2018. The next day, May 10, 2018,

  Evolent filed its Form 10-Q reporting financial results for the quarter.


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         164.    During the call, Williams touted that Evolent’s services provide “a cost-effective

  infrastructure that integrates clinical and administrative functions under one roof, and allows our

  provider partners to leverage the benefits of integration in driving performance.”            And,

  Defendant Williams further represented that Evolent had “been driving efficiency and

  operational scale within our Medicaid business.”

         165.    Similarly, in the Form 10-Q, Evolent described its suite of tech-based services and

  claimed they enabled health plan partners like Passport to operate “in a more cost-effective

  manner.” Specifically, Evolent represented:

         The Company’s services segment (‘services’) provides our customers, who we
         refer to as partners, with a population management platform, integrated data and
         analytics capabilities, pharmacy benefit management (‘PBM’) services and
         comprehensive health plan administration services. Together these services
         enable health systems to manage patient health in a more cost-effective manner.

         166.    The statements in paragraphs 164 and 165 were materially false and misleading.

  Evolent’s services did not create “a cost-effective infrastructure” or “drive[] performance” for its

  most crucial partner, Passport, but rather, dramatically increased Passport’s costs with no

  commensurate financial benefit to Passport. Indeed, in 2018 Evolent reaped a shocking $114.5

  million in fees from Passport, which caused Passport to incur a staggering $130.7 million net

  underwriting loss by the end of 2018. Moreover, as Evolent took over more and more services

  from Passport, Passport’s general administrative expenses increased at a rate dramatically

  outpacing its revenue growth.      Specifically, between 2015 and 2018, Passport’s Medicaid

  revenue grew only 15%—from $1.65 billion to $1.94 billion—while its general administrative

  expenses increased by a staggering 80%—from $107.5 million to $194 million. Indeed, as CW 1

  put it, “[Evolent] said they could cut costs by providing services; they did the opposite.” CW 5

  confirmed that “[e]verything that was done was either more expensive or cost us more money.”

         H.      Evolent’s May 11, 2018 Investor and Analyst Day Conference


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         167.    On May 11, 2018, Evolent held its third annual Investor and Analyst Day. During

  the conference, Evolent executives discussed the Passport partnership at length yet again. With

  respect to its financial commitment to Passport, Williams boasted that “Passport is a good

  example” of “a great partnership” purportedly because Evolent “allowed them to get a lot of

  savings” and “was really important in terms of helping economics.”

         168.    At this conference Defendant Blackley, the President of Evolent’s operating

  subsidiary, also stated that Evolent’s suite of services had purportedly caused “about $75 million

  of improvement to Passport’s bottom line,” claiming that:

         I think, you look at the results of the partnership, Evolent-Passport over the last
         few years under Tom [Peterson] and Steve [Houghland]’s leadership, about 5%
         improvement in MLR roughly, so which is about $75 million of improvement to
         Passport’s bottom line. That is while, I think, taking care of patients in a way that
         is better more coordinated, more integrated and better for the providers. So if you
         boil all what Steve just mentioned down to sort of the results, the $75 million
         improvement in the bottom line is a big deal, and it helps make, I think, the
         mission sustainable, and gives an opportunity for us to expand what we’re doing
         in the state. And that’s -- from an investor’s standpoint, in taking away the net
         result [--] is critical. . . . But that was across the analytics and technology and
         platform, the compensation models, the clinical programming, and then also, the
         health plan services, Valence platform, which the Passport team adopted recently.
         So I think that gives you a full picture of the impact of all the work.

         169.    These statements in paragraphs 167 and 168 were materially false and misleading.

  In reality, Evolent had not “allowed [Passport] to get a lot of savings,” had not achieved “about

  $75 million of improvement to Passport’s bottom line,” and was not “really important in terms of

  helping [Passport’s] economics.” Rather Evolent’s suite of services had dramatically increased

  Passport’s costs and depleted the Plan’s capital. CW 1 said that she had no idea what Blackley

  was referring to when he claimed that Evolent had saved Passport $75 million. Instead, she said

  “[Evolent] said they could cut costs by providing services; they did the opposite.” CW 5

  confirmed that “[e]verything that was done was either more expensive or cost us more money.”

  Indeed, during the first half of 2018 alone, months before the 2018 rate cuts went into effect,


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  Passport had already incurred a net loss of $26 million caused by “increased costs.” By the end

  of 2018, Passport would incur a staggering $130.7 million net underwriting loss.

         I.      Evolent’s 2Q 2018 Investor Call and Form 10-Q

         170.    On August 7, 2018, Evolent conducted an investor conference call to discuss its

  financial results for the second quarter ended June 30, 2018. Two days later, on August 9, 2018,

  Evolent filed its Form 10-Q reporting financial results for the quarter.

         171.    During the call, Williams claimed Evolent has a “differentiated platform, highly

  integrated” that has allowed Evolent “to standardize and reduce costs in many areas,” and “drive

  some impressive consistent results for our partner[s].”          Meanwhile, Defendant McGrane

  described Evolent’s approach as “conservative in how we’re building infrastructure to make sure

  we’re managing cost well.”

         172.    Similarly in the Form 10-Q, Evolent described its suite of tech-based services and

  claimed they enabled health plan partners like Passport to operate “in a more cost-effective

  manner.” Specifically, Evolent represented:

         The Company’s services segment (‘services’) provides our customers, who we
         refer to as partners, with a population management platform, integrated data and
         analytics capabilities, claims processing services, including pharmacy benefit
         management and comprehensive health plan administration services. Together
         these services enable health systems to manage patient health in a more cost-
         effective manner.

         173.    The statements in paragraphs 171 and 172 were materially false and misleading.

  Evolent’s services did not help its most crucial partner, Passport “reduce costs in many areas,”

  “drive some impressive consistent returns,” or enable it to operate “in a more cost-effective

  manner,” but rather, dramatically increased Passport’s costs with no commensurate financial

  benefit to Passport. Moreover, as Evolent took over more and more services from Passport,

  Passport’s general administrative expenses increased at a rate dramatically outpacing its revenue



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  growth. Indeed, as CW 1 put it, “[Evolent] said they could cut costs by providing services; they

  did the opposite.” CW 5 confirmed that “[e]verything that was done was either more expensive

  or cost us more money.” Additionally, by this time, Evolent’s Valence platform was already

  causing rampant problems with Passport’s claims processing, including late payment of claims,

  underpayment of claims, overpayment of claims, incorrect processing of claims, and failure to

  properly submit encounter data to the state. These claims processing deficiencies wreaked havoc

  on Passport’s financials, causing it to incur nearly half a billion dollars in penalties from the

  state, pay interest charges on late claims, and ultimately lose out on revenue from Kentucky that

  it could have received had it properly submitted its encounter data.

          J.      The September 5, 2018 Wells Fargo Healthcare Conference and Evolent’s 3Q
                  2018 Form 10-Q

          174.    On September 5, 2018, Evolent presented at the 2018 Wells Fargo Healthcare

  Conference, again emphasizing the purported cost savings Evolent had generated for Passport.

  Then about a month later on November 8, 2018, Evolent filed its Form 10-Q reporting financial

  results for the quarter.

          175.    During the call, Defendant Williams expressly stated: “In [Passport’s] own plan,

  we believe we’ve helped to generate over $100 million in savings, which was highly valuable to

  that organization.”

          176.    Similarly, in the Form 10-Q, Evolent described its suite of tech-based services and

  claimed they enabled health plan partners like Passport to operate “in a more cost-effective

  manner.” Specifically, Evolent represented:

          The Company’s services segment (‘services’) provides our customers, who we
          refer to as partners, with a population management platform, integrated data and
          analytics capabilities, claims processing services, including pharmacy benefit
          management, and comprehensive health plan administration services. Together
          these services enable health systems to manage patient health in a more cost-
          effective manner.


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         177.    The statements in paragraphs 175 and 176 were materially false and misleading.

  Evolent’s services did not help its most crucial partner, Passport operate “in a more cost-effective

  manner”; in fact, they did just the opposite. As Evolent took over more and more services from

  Passport, Passport’s general administrative expenses increased at a rate dramatically outpacing

  its revenue growth. Indeed, as CW 1 put it, “[Evolent] said they could cut costs by providing

  services; they did the opposite.” CW 5 confirmed that “[e]verything that was done was either

  more expensive or cost us more money.” Moreover, by this time, Evolent’s Valence platform

  was already causing rampant problems with Passport’s claims processing, including late payment

  of claims, underpayment of claims, overpayment of claims, incorrect processing of claims, and

  failure to properly submit encounter data to Kentucky. CW 5 explained that letters documenting

  these deficiencies “absolutely were” sent to Evolent’s executives because “Evolent agreed to foot

  the bill for a certain time period.” These claims processing deficiencies wreaked havoc on

  Passport’s financials, causing it to incur nearly half a billion dollars in penalties from the state,

  pay interest charges on late claims, and ultimately lose out on revenue from Kentucky that it

  could have received had it properly submitted its encounter data.

         K.      The January 25, 2019 Insider Louisville Article

         178.    On January 25, 2019, a Kentucky press outlet discussed Evolent’s exorbitant fees

  and Passport’s dramatically worsening financial situation.        In an article titled “Passport’s

  Finances Being Dragged Down by $220M in ‘Management Fees’ to Evolent Health,” Insider

  Louisville wrote that “declining reimbursement rates to Passport tell just part of the story,” and

  that “Passport’s money problems” were also a result of the fees it had paid to Evolent.

         179.    Insider Louisville reported in the article that in response to its allegations,

  Defendants flatly denied that Evolent’s fees were harming Passport, or that Evolent was

  overcharging the Plan in any way. Evolent insisted that its fees were reflective of the “hundreds


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  of [Evolent] employees supporting Passport” and the “increases in scope of our partnership with

  Passport.” Indeed, Evolent indicated that the fees it was charging Passport (and the resulting

  marked increase in Passport’s expenses) were entirely appropriate and reasonable for the services

  performed for the Plan, falsely claiming that the services Evolent’s rebadged employees were

  providing for Passport were being provided “at cost” and even “at a lower per member cost than

  prior periods.” Specifically, the Insider Louisville article reported:

         Evolent told Insider via email that the ‘majority of the fees Passport pays to
         Evolent are directly tied to local staff—at cost—as well as (insurance claims
         processing) and pharmacy benefit services at a lower per member cost than prior
         periods.’ The company said it has ‘hundreds of employees supporting Passport’
         and that ‘the number of employees has increased in line with the increases in
         scope of our partnership with Passport’ and that ‘the number of our employees in
         Louisville exceeds our original projection.’ However, the company did not
         provide details.

         180.    The statements in paragraph 179 were materially false and misleading. Evolent

  failed to disclose that its services were not provided to Passport “at cost.” In fact, as former

  employees explained, Evolent charged far more for the services its rebadged employees provided

  to Passport than Passport had paid these employees in salaries. For example, as CW 1 explained,

  Passport ended up paying Evolent “more than we had been paying for the salaries of the people

  that did the work Evolent was [now] doing. . . . The admin expense was more than we were

  paying for those salaries. That’s all Evolent.” Evolent further failed to disclose that with respect

  to claims processing, Evolent’s Valence services did not process Passport’s claims “at lower per

  member cost” than Passport had paid pre-Valence for the same claims processing. Instead,

  information obtained from Kentucky demonstrates the exact opposite; namely, that under

  Passport’s previous claims administrator, Passport was assessed penalties averaging just $33,000

  per month. By contrast, in October 2017—the first month that Evolent handled Passport’s

  claims processing—Passport was assessed penalties of $619,625, an increase of roughly 1,800%.



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  These penalties continued to exponentially skyrocket as a result of Evolent’s utterly deficient

  claims processing, and, remarkably, over the subsequent year and a half, Passport was assessed

  nearly half a billion dollars in penalties.    CW 5 explained that letters documenting these

  deficiencies “absolutely were” sent to Evolent’s executives because “Evolent agreed to foot the

  bill for a certain time period.” As CW 3 confirmed, Valence wreaked havoc at Passport for a

  period of “more than 15 months,” becoming so systemic that Evolent was forced to standup a

  daily “war room” to address the issue.

         L.      Evolent’s 4Q and Full Year 2018 Investor Call, and 2018 Form 10-K

         181.    On February 26, 2019, Evolent conducted an investor conference call to discuss

  its financial results for the fourth quarter and year ended December 31, 2018. Two days later, on

  February 28, 2019, Evolent filed its Form 10-K for the year ended December 31, 2018 (the

  “2018 Form 10-K”).

         182.    By this time, Passport had sued Kentucky and in light of Passport’s lawsuit and

  ongoing media reports, analysts and investors remained concerned that Passport’s financial

  troubles posed a risk to Evolent’s most substantial revenue stream, and that Evolent might even

  have to acquire Passport.     In response, Defendant Williams emphatically dismissed these

  concerns, stating that even though such a deal would clearly be detrimental to Evolent, Evolent

  was “not focused on outright majority ownership [of] health plans” and further assured that

  “there’s no big change in strategy based on what we see happening with Passport specifically.”

         183.    Still concerned that Evolent would wind up having to bail out Passport, a

  Citigroup analyst asked Williams outright: “[o]n the Passport side, is there any balance sheet risk

  if they were to go insolvent? Or put another way, have your joint investment efforts of Passport

  given you any exposure in a tail event…?” Williams again responded unequivocally: “No. No,

  we don’t have any broader exposure.” The Citigroup analyst sought specific assurances that


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  Evolent was not planning to bail out Passport: “[i]f there was a tail event for Passport, and given

  the importance of scale on your business, what would prevent you from potentially acquiring

  some of their assets, if not the whole business?” Significantly, Williams again flatly dismissed

  the possibility that Evolent had any intention of acquiring or bailing out Passport, insisting

  instead that such a transaction was “not in our strategic lens at this point” and specifically that,

  “related to Passport that’s not something that is currently being evaluated”:

         Again, it’s pretty hard to speculate on that. I don’t think we’ve thought about
         acquiring a full Medicaid plan. It’s just not in our strategic lens at this point.
         Again, in certain situations, we’ve talked about co-ownership models where we
         might have a minority stake in something, but related to Passport that’s not
         something that is currently being evaluated.

         184.    The statements in paragraphs 182 and 183 were materially false and misleading.

  As Evolent management would later admit, by no later than January 2019—a full month before

  the above statements were made—Defendants were well-aware that Passport’s financial

  condition had deteriorated to the point where the “writing [was] on the wall” that Evolent

  inevitably would have to bail out Passport in order to preserve its most important source of

  business and its largest reoccurring revenue stream. Moreover, the very fact that Evolent put a

  “shadow management team” into place at Passport in January 2019—the exact same time that

  Evolent executives would later admit that the “writing was on the wall” that Evolent would be

  forced to bail out Passport—evidences that Evolent was already laying the groundwork for its

  bailout of Passport by that time.

         185.    In the 2018 Form 10-K, Evolent also stated that the Company’s suite of services

  benefited health plan systems like Passport “[b]y helping these systems lower clinical and

  administrative costs” and “capture greater market share.” Specifically, Evolent represented:

         The partnership model enables cultural alignment, integration into the provider
         care delivery and payment work flow, contractual relationships and a cycle of
         clinical and cost improvement with shared financial benefit.


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         We have sought to partner with leading providers in sizable markets, which we
         believe creates a growth cycle that benefits from the secular transition to value-
         based care. By helping these systems lower clinical and administrative costs, we
         believe we are positioning them to offer a low cost, effective care setting to
         payers, employers and consumers, which enables them to capture greater market
         share. As providers have succeeded in lowering costs and growing market share,
         this enables them to increase their value-based offerings. We benefit from our
         partners’ growth[.]

         186.    The statements in paragraph 185 were false and misleading. Indeed, in 2018,

  Evolent not only failed to help Passport “lower clinical and administrative costs” and “capture

  greater market share,” but, in fact, drove the Plan into financial ruin. Indeed, as CW 1 put it,

  “[Evolent] said they could cut costs by providing services; they did the opposite.” CW 5

  confirmed that “[e]verything that was done was either more expensive or cost us more money.”

  Moreover, as of November 1, 2018, the financial ramifications of the 2018 rate cuts began to hit

  Passport and became so severe that Passport would report a loss of $65.5 million by year-end

  2018 and project an additional $75 million loss for the first half of 2019. Significantly, multiple

  CWs confirmed that the 2018 rate cuts were directly caused by Evolent’s claims processing

  deficiencies and its failure to ensure its Valence system accurately and timely processed

  Passport’s medical claims.

         M.      Evolent’s 1Q 2019 Investor Call

         187.    On May 7, 2019, Evolent conducted an investor conference call to discuss its

  financial results for the first quarter ended March 31, 2019.

         188.    During the call, Williams again attempted to assuage Passport-related bailout

  concerns by assuring investors that “Passport is making solid progress towards improving its

  financial performance,” stating:

         Currently, we’re pursuing several major initiatives in close collaboration with the
         Passport leadership team[.]

                                                 ***


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         Based on these initiatives and given the strength of its clinical model, we believe
         that Passport is making solid progress towards improving its financial
         performance, while continuing to provide market-leading care to its members.
         Overall, we remain hopeful that the combination of the new reimbursement rates,
         administrative and clinical improvements and efforts to strengthen the balance
         sheet will provide a path for Passport to be successful long term in the Kentucky
         Medicaid market.

         189.    The statements in paragraph 188 were materially false and misleading. Indeed, by

  this time, not only was Passport not making “solid progress towards improving its financial

  performance,” but Evolent was three weeks away from announcing that the Company was

  acquiring the Plan. Even at this late date, however, Evolent failed to disclose to investors its

  intention and its need to buy Passport outright in order to save its largest revenue source and the

  lynchpin of its national Medicaid business strategy.

  VII.   ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

         190.    The facts set forth herein, viewed collectively, give rise to a strong inference that

  the Individual Defendants acted knowingly, or severely recklessly, when they concealed from the

  market the material negative information that, inter alia: (1) Evolent’s services did not, and

  could not, help its largest client, Passport, cut costs, but in fact did the exact opposite—

  increasing costs as evidenced by Evolent’s near bankrupting of Passport; (2) Evolent’s Valence

  claims management platform was ineffective and unable to perform the functions it was

  supposed to perform, instead causing Passport’s claims management to deteriorate to the point

  that it paid fines and interest penalties and ultimately was subjected to reimbursement cuts; and

  (3) Defendants knew, once Passport’s financial situation became dire, that Evolent would have

  no choice but to bail out Passport so as not to lose its largest and most significant client.




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         A.      The Individual Defendants Closely Monitored All Aspects of Passport’s
                 Performance, as Defendants Touted in Their Public Statements, and as CWs
                 Confirmed

         191.    Throughout the Class Period, Defendants emphasized their extensive role in the

  management of Passport, and their resulting insight into Passport’s performance.           Indeed,

  Defendants repeatedly claimed that Evolent’s relationship with Passport was so close and

  Evolent’s control over the Plan’s decision making was so unequivocal that Evolent’s own CEO

  continuously boasted throughout the Class Period that Evolent was “a co-owner” of Passport.

         192.    For example, during an August 7, 2017 earnings call, Defendant Williams stated,

  with respect to Passport, that “while we are separate entities that they look at us as a co-owner.”

  Williams further added that through its agreement with Passport, Evolent was “able to sit down

  at the table,” and “we really have joint governance and we’re able to drive the decisions we think

  are important for performance.”

         193.    Former Passport and Evolent employees further confirmed that Evolent closely

  monitored Passport, including by sending high-level officers to attend weekly meetings with

  Passport management. For example, CW 1 said that Defendant Christie Spencer—who was

  COO at Passport up until February 2016, when she went over to Evolent—always “knew what

  was going on” and that “even after she went to Evolent, she was still at the table.’ CW 1 said

  that “[t]he [Passport] executive team met every Monday and [Defendant Spencer] was always in

  the room.” CW 1 further stated that, after Spencer the Company in 2018, Evolent’s National

  Medicaid President—Scott Bowers, who was later named Passport’s CEO—was present at

  regular Passport executive meetings.

         194.    Further, CW 3 explained that, once problems became apparent with Evolent’s

  Valence claims management platform, Evolent’s senior management was so concerned that they

  created a daily “war room” meeting, and that Scott Bowers was present at almost every war


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  room meeting, and would in turn create presentations on the claims situation to share with

  Evolent’s other senior management.

         195.    CW 3 also explained that Evolent was intimately involved with Passport’s dire

  financial troubles, such that, beginning in late 2018, “folks like [Evolent COO and co-founder]

  Tom Peterson were here on the ground [in Louisville] for weeks on end trying to work to get

  things fixed.” CW 1 corroborated that Evolent knew of Passport’s dire financial circumstances

  as soon as Passport’s own management knew of the situation. “Whenever Passport knew,

  Evolent knew,” CW 1 said. “They sit at the table.”

         196.    Evolent also had absolute insight into the operations and performance of Passport

  due to the “rebadging” of hundreds of Passport employees as Evolent employees, whereupon

  those employees continued to perform exactly the same role they had previously performed for

  Passport, but now reported to Evolent management.

         197.    Evolent’s admitted intensive involvement in the day-to-day management of

  Passport—corroborated and bolstered by high-level former Evolent and Passport employees—

  creates a strong inference of scienter, as the Individual Defendants knew virtually everything that

  Passport management knew about Passport’s operations and financial condition, if not more.

         B.      Passport Was by Far Evolent’s Most Important Client

         198.    Throughout the Class Period, Evolent management touted its relationship with

  Passport as its most significant by far. For the years 2016, 2017, and 2018, respectively, Passport

  accounted for 19.6%, 20.6%, and 17.5% of Evolent’s revenue, making Passport by far Evolent’s

  largest partner by revenue in each of those years. Evolent mentioned Passport dozens of times

  in each of the Company’s Form 10-K Annual Reports, including in the 10-K’s “Risk Factors”

  section, which stated that the loss of Passport, specifically, as a client could negatively impact




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  Evolent’s financial results, and referred to Passport as “our strategic alliance partner.” No other

  client received similar treatment in the Company’s SEC filings.

         199.    The fact that Passport was essential to Evolent’s financial success further supports

  a strong inference of scienter, as it is implausible that the Individual Defendants would not

  closely monitor the performance and condition of the Company’s most important partner.

         C.      Contemporaneous Witness Accounts Confirm that Evolent Management
                 Knew of the Debilitating Problems With Evolent’s Newly-Acquired Claims
                 Processing Platform from the Outset

         200.    Former Evolent and Passport employees confirmed that they made Valence’s

  severe problems known to Evolent management at the outset of its use at Passport, and that these

  problems were widely known within Evolent. For example, CW 5 stated bluntly that Defendant

  Williams “absolutely” knew that there were multiple issues with Valence—including that it was

  not designed for Medicaid claims and that there were issues with reporting data—because of his

  participation in “relationship calls” between Evolent and Passport, during which “[s]omeone

  always barked about them.” CW 5 further recalled that he took part in meetings with Defendant

  Williams, Evolent CTO Chad Pomeroy, and Passport COO Carl Felix, during which they got into

  very technical details about why Valance was not working and explained that “[w]e were very

  explicit with them.”

         201.    CW 2 also said he personally made it known to Evolent management on “a

  number of occasions” that the system wasn’t ready, “and it wasn’t just me,” telling management.

  In fact, “[p]retty much everyone from Passport was telling them” the transition to Valence would

  not go smoothly for Passport. Other CWs corroborated this. For example, CW 4 called the

  switch to the Valence platform “a disaster” and said it was clear at the outset that “the system

  wasn’t ready.” Indeed, CW 1 said it was “shocking,” at the time, that Evolent, a company with

  no prior experience in claims processing, was now going to be processing claims for Passport, let


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  alone with a system that was not designed for individual medical claims that Evolent “didn’t

  know how to use.” Consequently, “everyone at Passport was skeptical” that Evolent could make

  it work.

         202.    Defendants also knew of Valence’s severe problems because they experienced

  similar problems with the claims management platform at other Medicaid plans that Evolent

  serviced. For example, both CW 3 and CW 4 said that the Valence platform was creating similar

  problems in 2018 at Evolent’s three Florida Medicaid plan clients as it had been doing in

  Kentucky at Passport.

         203.    These facts further bolster a strong inference of the Individual Defendants’

  scienter with respect to the problems with the Valence claims platform, making it implausible

  that the Individual Defendants were not aware, at the outset, of the severe problems with the

  Valence platform—problems that would, in turn, directly lead to Passport’s downfall.

         D.      Once the “Writing Was on the Wall,” in January 2019, Evolent Installed a
                 “Shadow Management Team” at Passport, Giving Them Even More Direct
                 Knowledge of Everything that Transpired at Passport

         204.    In January 2019, when it became apparent that Passport’s financial condition was

  so dire that it would likely need a financial bailout and/or a buyout, Evolent installed a “shadow

  management team” to manage affairs at Passport. As COO Tom Peterson explained in an

  investor call on May 30, 2019:

         [S]tarting in January, once the writing kind of became on the wall around the real
         impact of the rates and the fact that there was not likely to be retroactive rate
         relief, there was additional level of urgency that was placed on this. . . .

                                                ***

         [I[n January what we did was we effectively created a shadow management team
         [at Passport]. So we had our own – we brought in our own CMO, our own CEO,
         our own COO, a Chief Actuary, Head of Network Contracting, and we were
         shoulder to shoulder with Passport leadership.



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         205.    As outlined above, even before this “shadow management team” was in place,

  Evolent had a clear line of sight into the operations and finances of Passport at all times during

  the Class Period. Once this shadow management team was installed, however, the inference that

  the Individual Defendants had scienter with respect to the problems at Passport and the need to

  bail out the Plan becomes incontrovertibly strong.

         E.      The Magnitude of Passport’s Data Submission Violations, and the Resulting
                 Massive Penalties Assessed by Kentucky, Which Were Set Forth in “Penalty
                 Letters” Sent Each Month to Passport’s Most Senior Officers, Establishes
                 Defendants’ Scienter

         206.    From the very first month that Evolent took over claims administration for

  Passport—October 2017—Passport immediately began incurring exponentially increased

  penalties for untimely and incorrectly submitted encounter data. These penalties dwarfed the de

  minimis penalties imposed on Passport before Evolent took over its claims administration. For

  example, in the 9-month period before Evolent took over Passport’s claims administration,

  Passport had averaged just $33,000 in penalties assessed each month.            But this number

  skyrocketed to $619,625 in October 2017, an increase of roughly 1,800%. Soon thereafter, these

  monthly penalties exponentially increased by massive amounts. For example, Evolent caused

  Passport to incur $48 million in penalties for February 2018, $56 million for October 2018, and

  over $100 million for each of November and December 2018. In all, from October 2017 through

  April 2019, Evolent’s faulty claims administration resulted in a staggering $489 million in

  encounter data penalties—an amount so large that it would have bankrupted Passport had the

  penalty payments not been contractually capped at 0.33% of the Plan’s monthly revenue. Even

  then, Passport was forced to pay more than $10 million to Kentucky between October 2017 and

  April 2019—an amount equivalent to one-third of Passport’s entire net underwriting gain for

  2015 (the year before Evolent took over at Passport).



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          207.    These penalties were set forth in detailed letters tFhat Lead Plaintiffs obtained

  through their independent investigation and that Kentucky sent on a monthly basis directly to

  Mark Carter, the CEO of Passport, as well as numerous other senior Passport officers, including

  its CFO. In light of the magnitude of these penalties, and the fact that Evolent itself admitted

  that it acted as a “co-owner” of Passport and would “drive the decisions (it) thought were

  important for performance,” it is inconceivable that Evolent was not aware of these letters and

  the penalties that Evolent’s own services had caused. These egregious and outsized penalties

  create a strong inference of scienter and demonstrate that the Individual Defendants knew from

  the outset that Evolent’s claims administration services were dramatically increasing Passport’s

  costs and causing the Plan severe financial harm, to the point that Passport was driven to the

  brink of bankruptcy.

  VIII. LOSS CAUSATION

          208.    During the Class Period, shares of Evolent’s publicly traded common stock traded

  on the NYSE. The market for shares of Evolent’s common stock was open, well-developed, and

  efficient at all relevant times.

          209.    Throughout the Class Period, the price of Evolent common stock was artificially

  inflated as a result of Defendants’ materially false and misleading statements and omissions

  identified above. Defendants engaged in a scheme to deceive the market, and a course of

  conduct that operated as a fraud or deceit on Class Period purchasers of Evolent common stock,

  by failing to disclose and misrepresenting the adverse facts detailed herein. These material

  misstatements and omissions had the cause and effect of creating in the market an unrealistically

  positive assessment of the Company and its financial well-being and prospects, thus causing the

  Company’s stock price to be overvalued and artificially inflated and/or maintained at artificially

  inflated levels at all relevant times. Defendants’ materially false and misleading statements made


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  during the Class Period resulted in Lead Plaintiffs and the other members of the Class purchasing

  the Company’s stock at artificially inflated prices.

         210.    When Defendants’ prior misrepresentations and fraudulent conduct were

  disclosed and became apparent to the market, the price of Evolent common stock fell

  precipitously as the prior artificial inflation dissipated. As a result of their purchases of Evolent

  common stock during the Class Period, Lead Plaintiffs and the other Class members suffered

  economic loss, i.e., damages, under the federal securities laws.

         211.    By issuing materially false and misleading statements, among other adverse facts

  detailed herein, Defendants presented a misleading picture of Evolent’s business. Defendants’

  false and misleading statements had the intended effect and caused Evolent common stock to

  trade at artificially inflated levels throughout the Class Period.

         212.    On February 15, 2019, Passport filed a lawsuit against Kentucky’s Cabinet for

  Health and Family Services and Finance and Administration Cabinet regarding Medicaid

  reimbursement rates. The complaint detailed that Passport’s financial situation was far more dire

  than previously reported, explaining that Passport’s statutory net worth had dropped $68.9

  million during 2018 and that it had suffered losses of $65.5 million for the year. In addition,

  Passport stated that it expected a staggering additional $75 million in losses for the first six

  months of 2019 alone. As a result of these losses, Passport stated that it would fall below the

  statutory minimum capital needed to remain solvent by law as soon as March 1, 2019—a mere

  two weeks later, thus rendering Passport unable to operate as a Medicaid provider in Kentucky.

  As a direct result of the Passport lawsuit, on February 19, 2019 (the first trading day following

  the lawsuit filing), Evolent’s common stock precipitously declined 10.8%, to close at $14.99

  (from closing the previous trading day at $16.80), on unusually high volume.




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         213.    On May 29, 2019, before the market opened, Evolent announced that it would pay

  $70 million to take a 70% ownership stake in Passport, and would provide “interim balance sheet

  support” if such support became necessary for Passport to continue to meet its statutory capital

  requirements. As a direct result of this news, Evolent’s share price plummeted a staggering

  29.3%—or $4.14, to close at $10.01 (from the previous trading day’s closing price of $14.15), on

  unusually high volume.

         214.    The drastic and continuing decline in Evolent’s stock price was a direct result of

  the nature and extent of Defendants’ fraud finally being revealed to investors and the market.

  The timing and magnitude of the decline in the Company’s share price negates any inference that

  the loss suffered by Lead Plaintiffs and the other Class members was caused by changed market

  conditions, macroeconomic or industry factors, or Company-specific facts unrelated to

  Defendants’ fraudulent conduct.

  IX.    CLASS ACTION ALLEGATIONS

         215.    Lead Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23(a)

  and 23(b)(3) on behalf of a Class consisting of all those who purchased, or otherwise acquired,

  the common stock of Evolent between March 3, 2017 and May 28, 2019, inclusive (the “Class”),

  and who were damaged thereby. Excluded from the Class are Defendants, the officers and

  directors of Evolent at all relevant times, members of their immediate families, and their legal

  representatives, heirs, agents, affiliates, successors or assigns, Defendants’ liability insurance

  carriers, and any affiliates or subsidiaries thereof, and any entity in which Defendants or their

  immediate families have or had a controlling interest.

         216.    The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Evolent shares were actively traded on the New

  York Stock Exchange. As of August 9, 2019, there were over 83.8 million shares of Evolent


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  common stock outstanding. While the exact number of Class members is unknown to Lead

  Plaintiffs at this time, and can only be ascertained through appropriate discovery, Lead Plaintiffs

  believe that there are at least tens-of-thousands of members of the proposed Class. Class

  members who purchased shares of Evolent common stock may be identified from records

  maintained by the Company, or its transfer agent(s), and may be notified of this class action

  using a form of notice similar to that customarily used in securities class actions.

         217.    Lead Plaintiffs’ claims are typical of Class members’ claims, as all members of

  the Class were similarly affected by Defendants’ wrongful conduct in violation of the federal

  securities laws, as complained of herein.

         218.    Lead Plaintiffs will fairly and adequately protect Class members’ interests, and

  have retained competent counsel experienced in class actions and securities litigation.

         219.    Common questions of law and fact exist as to all Class members and predominate

  over any questions solely affecting individual Class members. Among the questions of fact and

  law common to the Class are:

                 a.      whether the federal securities laws were violated by Defendants’ acts, as
                         alleged herein;

                 b.      whether the Defendants made statements to the investing public during the
                         Class Period that were false, misleading or omitted material facts;

                 c.      whether Defendants acted with scienter; and

                 d.      the proper way to measure damages.

         220.    A class action is superior to all other available methods for the fair and efficient

  adjudication of this action because joinder of all Class members is impracticable. Additionally,

  the damage suffered by some individual Class members may be relatively small so that the

  burden and expense of individual litigation make it impossible for such members to individually




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  redress the wrongs done to them. There will be no difficulty in the management of this action as

  a class action.

  X.      APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
          MARKET DOCTRINE

          221.      At all relevant times, the market for Evolent’s common stock was efficient for the

  following reasons, among others:

                    a.     Evolent’s stock met the requirements for listing, and was listed and
                           actively traded on the New York Stock Exchange, a highly efficient and
                           automated market;

                    b.     As a regulated issuer, Evolent filed periodic reports with the SEC and the
                           New York Stock Exchange;

                    c.     Evolent regularly communicated with public investors via established
                           market communication mechanisms, including through regular
                           disseminations of press releases on the national circuits of major newswire
                           services, and through other wide-ranging public disclosures, such as
                           communications with the financial press and other similar reporting
                           services; and

                    d.     Evolent was followed by numerous securities analysts employed by major
                           brokerage firms who wrote reports which were distributed to those
                           brokerage firms’ sales force and certain customers. Each of these reports
                           was publicly available and entered the public market place.

          222.      As a result of the foregoing, the market for Evolent’s common stock reasonably

  and promptly digested current information regarding the Company from all publicly available

  sources and reflected such information in the price of Evolent’s common stock. All purchasers

  of the Company’s common stock during the Class Period suffered similar injury through their

  purchase of Evolent stock at artificially inflated prices, and a presumption of reliance applies.

          223.      A Class-wide presumption of reliance is also appropriate in this action under the

  U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972),

  because the Class’ claims are grounded on Defendants’ material omissions. Because this action

  involves Defendants’ failure to disclose material adverse information regarding Evolent’s


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  business and operations—information that Defendants were obligated to disclose—positive

  proof of reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld

  be material in the sense that a reasonable investor might have considered them important in

  making investment decisions. Given the importance of the Class Period material misstatements

  and omissions set forth above, that requirement is satisfied here.

  XI.    INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND THE
         BESPEAKS CAUTION DOCTRINE

         224.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

  looking statements under certain circumstances does not apply to any of the false and misleading

  statements pleaded in this Complaint. None of the statements complained of herein was a

  forward-looking statement. Rather, they were historical statements or statements of purportedly

  current facts and conditions at the time the statements were made, including statements about

  Evolent’s present business and operations, its present financial condition, and its most significant

  client, Passport, among other things.

         225.    To the extent that any of the false and misleading statements alleged herein can be

  construed as forward-looking, those statements were not accompanied by meaningful cautionary

  language identifying important facts that could cause actual results to differ materially from

  those in the statements. As set forth above in detail, then-existing facts contradicted Defendants’

  statements regarding Evolent’s business and operational practices, among others. Given the

  then-existing facts contradicting Defendants’ statements, any generalized risk disclosures made

  by Evolent were not sufficient to insulate Defendants from liability for their materially false and

  misleading statements.

         226.    To the extent that the statutory safe harbor does apply to any forward-looking

  statements pleaded herein, Defendants are liable for those false forward-looking statements



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  because at the time each of those statements was made, the particular speaker knew that the

  particular forward-looking statement was false, and the false forward-looking statement was

  authorized and approved by an executive officer of Evolent who knew that the statement was

  false when made.

  XII.    COUNTS

                                               Count I

   Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                     (Against All Defendants)

          227.    Lead Plaintiffs repeat and reallege each and every allegation set forth above as if

  fully set forth herein.

          228.    This Count is asserted on behalf of all members of the Class against Evolent and

  the Individual Defendants for violations of Section 10(b) of the Exchange Act, 15 U.S.C. §

  78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

          229.    During the Class Period, Defendants disseminated or approved the false

  statements specified above, which they knew were, or they deliberately disregarded as,

  misleading in that they contained misrepresentations and failed to disclose material facts

  necessary in order to make the statements made, in light of the circumstances under which they

  were made, not misleading.

          230.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5

  promulgated thereunder in that they: (a) employed devices, schemes, and artifices to defraud; (b)

  made untrue statements of material facts or omitted to state material facts necessary in order to

  make the statements made, in light of the circumstances under which they were made, not

  misleading; and/or (c) engaged in acts, practices, and a course of business that operated as a




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  fraud or deceit upon Lead Plaintiffs and other investors similarly situated in connection with

  their purchases of Evolent common stock during the Class Period.

         231.    Defendants, individually and in concert, directly and indirectly, by the use of

  means or instrumentalities of interstate commerce and/or of the mails, engaged and participated

  in a continuous course of conduct that operated as a fraud and deceit upon Lead Plaintiffs and the

  other members of the Class; made various untrue and/or misleading statements of material facts

  and omitted to state material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading; made the above statements

  intentionally or with a severely reckless disregard for the truth; and employed devices and

  artifices to defraud in connection with the purchase and sale of Evolent common stock, which

  were intended to, and did: (a) deceive the investing public, including Lead Plaintiffs and the

  other members of the Class, regarding, among other things, Evolent’s business and operations;

  (b) artificially inflate and maintain the market price of Evolent common stock; and (c) cause

  Lead Plaintiffs and the other members of the Class to purchase the Company’s common stock at

  artificially inflated prices, and to suffer losses when the true facts became known.

         232.    Defendants are liable for all materially false and misleading statements made

  during the Class Period, as alleged above.

         233.    As described above, Defendants acted with scienter throughout the Class Period,

  in that they acted either with intent to deceive, manipulate, or defraud, or with severe

  recklessness. The misrepresentations and omissions of material facts set forth herein, which

  presented a danger of misleading buyers or sellers of Evolent common stock, were either known

  to Defendants, or were so obvious that Defendants should have been aware of them.




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          234.    Lead Plaintiffs and the other members of the Class have suffered damages in that,

  in direct reliance on the integrity of the market, they paid artificially inflated prices for Evolent

  common stock, which inflation was removed from its price when the true facts became known.

  Lead Plaintiffs and the other members of the Class would not have purchased Evolent common

  stock at the prices they paid, or at all, if they had been aware that the market price had been

  artificially and falsely inflated by Defendants’ misleading statements.

          235.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

  and the other members of the Class suffered damages attributable to the material misstatements

  and omissions alleged herein in connection with their purchases of Evolent common stock during

  the Class Period.

                                               Count II

                            Violations of Section 20(a) of the Exchange Act
                                 (Against the Individual Defendants)

          236.    Lead Plaintiffs repeat and reallege each and every allegation set forth above as if

  fully set forth herein.

          237.    This Count is asserted on behalf of all members of the Class against the Individual

  Defendants for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

          238.    During their tenures as officers and/or directors of Evolent, each of the Individual

  Defendants was a controlling person of the Company, within the meaning of Section 20(a) of the

  Exchange Act. By reason of their positions of control and authority as officers and/or directors

  of Evolent, the Individual Defendants had the power and authority to direct the management and

  activities of the Company and its employees, and to cause the Company to engage in the

  wrongful conduct complained of herein. These Individual Defendants were able to and did

  control, directly and indirectly, the content of the public statements made by Evolent during the



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  Class Period, including its materially misleading statements, thereby causing the dissemination

  of the false and misleading statements and omissions of material facts as alleged herein.

         239.    In their capacities as senior corporate officers and/or directors of the Company,

  and as more fully described above, the Individual Defendants had direct involvement in the day-

  to-day operations of the Company. The Individual Defendants signed the Company’s SEC

  filings during the Class Period, and were directly involved in providing false information, and in

  certifying and approving the false statements disseminated by Evolent during the Class Period.

  The Individual Defendants were also directly involved in providing false information, and they

  certified and approved the false statements disseminated by Evolent during the Class Period. As

  a result of the foregoing, the Individual Defendants, together and individually, were controlling

  persons of Evolent within the meaning of Section 20(a) of the Exchange Act.

         240.    As set forth above, Evolent violated Section 10(b) of the Exchange Act by its acts

  and omissions as alleged in this Complaint.

         241.    By virtue of their positions as controlling persons of Evolent, and as a result of

  their own aforementioned conduct, the Individual Defendants are liable pursuant to Section 20(a)

  of the Exchange Act, jointly and severally with, and to the same extent as, the Company is liable

  under Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, to Lead

  Plaintiffs and the other members of the Class, who purchased or otherwise acquired shares of

  Evolent common stock.       As detailed above, during the respective times these Individual

  Defendants served as officers and/or directors of Evolent, each of the Individual Defendants was

  culpable for the material misstatements and omissions made by the Company.




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         242.   As a direct and proximate result of the Individual Defendants’ conduct, Lead

  Plaintiffs and the other members of the Class suffered damages in connection with their purchase

  or other acquisition of Evolent common stock.

  XIII. PRAYER FOR RELIEF

         243.   Wherefore, Lead Plaintiffs pray for relief and judgment as follows:

                a.      Declaring the action to be a proper class action pursuant to Rule 23(a) and
                        (b)(3) of the Federal Rules of Civil Procedure on behalf of the Class
                        defined herein;

                b.      Awarding all damages and other remedies available under the Securities
                        Exchange Act in favor of Lead Plaintiffs and all other members of the
                        Class against Defendants in an amount to be proven at trial, including
                        interest thereon;

                c.      Awarding Lead Plaintiffs and the other members of the Class their
                        reasonable costs and expenses incurred in this action, including attorneys’
                        fees and expert fees; and

                d.      Such other and further relief as the Court may deem just and proper.

  XIV. JURY TRIAL DEMAND

         244.   Lead Plaintiffs hereby demand a trial by jury.

  Dated: May 7, 2020                          Respectfully submitted,

                                              /s/ Steven J. Toll
                                              Steven J. Toll
                                              Va. Bar No. 15300
                                              stoll@cohenmilstein.com
                                              Daniel S. Sommers
                                              dsommers@cohenmilstein.com
                                              Megan Kinsella Kistler
                                              mkistler@cohenmilstein.com
                                              COHEN MILSTEIN SELLERS
                                              & TOLL PLLC
                                              1100 New York Avenue, Suite 500
                                              Washington, D.C. 20005
                                              Tel: (202) 408-4600
                                              Fax: (202) 408-4699

                                              Liaison Counsel for Lead Plaintiffs



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                                     Joseph E. White, III (pro hac vice forthcoming)
                                     jwhite@saxenawhite.com
                                     Lester R. Hooker (pro hac vice forthcoming)
                                     lhooker@saxenawhite.com
                                     Brandon T. Grzandziel (pro hac vice)
                                     brandon@saxenawhite.com
                                     SAXENA WHITE P.A.
                                     7777 Glades Road, Suite 300
                                     Boca Raton, Florida 33434
                                     Tel: (561) 394-3399
                                     Fax: (561) 394-3382

                                     Steven B. Singer (pro hac vice forthcoming)
                                     ssinger@saxenawhite.com
                                     Sara DiLeo (pro hac vice)
                                     sdileo@saxenawhite.com
                                     Joshua H. Saltzman (pro hac vice)
                                     jsaltzman@saxenawhite.com
                                     SAXENA WHITE P.A.
                                     10 Bank Street, 8th Floor
                                     White Plains, New York 10606
                                     Tel: (914) 437-8551
                                     Fax: (888) 631-3611

                                     Lead Counsel for Lead Plaintiffs




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